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                            No. 18-50403
__________________________________________________________________

            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT


                     UNITED STATES OF AMERICA,
                           Plaintiff-Appellee,

                                       v.

                  CLAUDIA HERNANDEZ-BECERRA,
                        Defendant-Appellant.


            ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                     HON. MARILYN L. HUFF PRESIDING
                      NO. 3:18-MJ -20491-WVG-H-1


      BRIEF OF AMICI CURIAE NONPROFIT ORGANIZATIONS,
        IMMIGRANT RIGHTS AND COMMUNITY GROUPS,
               AND MENTAL HEALTH PROVIDERS

              IN SUPPORT OF DEFENDANT-APPELLANT


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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, amici

curiae state that no publicly held corporation owns 10% or more of the stock of any

of the parties listed herein, which are nonprofit organizations, immigrant rights and

community groups, and mental health providers.



Dated: April 17, 2019                  Respectfully submitted,
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                         PRELIMINARY STATEMENT

      This case raises a question of fundamental importance to the integrity of our

federal courts: whether magistrate judges reversibly err when failing to ensure that

a defendant’s plea is knowing, voluntary, and intelligent where a defendant raises

concerns about the coercive nature of the proceedings that materially affects their

cognitive, emotional, and physical capacities. As nonprofit organizations,

immigrant rights and community groups, and mental health providers, we write as

amici curiae to answer the question in the affirmative. As we explain below, it is a

court’s duty to ensure that a defendant’s guilty plea is knowing, voluntary, and

intelligent. This duty cannot be discharged as though it were mere procedural

formality, and requires a more searching inquiry under Federal Rule of Criminal

Procedure 11 (“Rule 11”).

      New research demonstrates that defendants who proceed through Operation

Streamline (“Streamline”), the Department of Justice’s fast-track, “zero-tolerance”

prosecution program, are subjected to detention conditions that lead to serious

cognitive impairments, including attention problems, increased suggestibility,

impaired memory, and slower mental processing speeds. While still suffering from

the acute physical and mental effects of their detention, defendants are transferred

for criminal prosecution directly to Streamline proceedings, where they are quickly

processed en masse in abbreviated hearings. The structure of these hearings


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disregards the continuing impact of defendants’ experiences in pre-hearing

detention, the unique aspects of each individual’s case, and the fact that a majority

of defendants report not understanding the constitutional rights they waive in

entering a guilty plea or the real-life consequences that flow from it.

      Yet Rule 11’s mandate is clear. Since its beginnings in common law, Rule

11’s guiding principle has been the protection of a defendant’s plea. This

protection is rooted in the idea that guilty pleas invoke fundamental constitutional

rights, the waiver of which implicates grave due process concerns. Rule 11’s

essential safeguard requires that a defendant’s guilty plea only be viable if it is

knowing, voluntary, and intelligent—a determination made by an adjudicator

through the plea colloquy. As the Ninth Circuit recognized in United States v.

Carter, 795 F.3d 947 (9th Cir. 2015), the court has a duty to conduct a more

searching inquiry under Rule 11 where there are indicia of circumstances affecting

a defendant’s mental state. In substituting procedural formality for meaningful

inquiry, the magistrate court appears to have ignored the pre-plea conditions to

which Streamline defendants are subjected and which were affirmatively

introduced into the record. Such a reading of Rule 11 is fundamentally

inconsistent with its long-established principles. Adjudicators must address the

direct, tangible impact of Streamline’s pre-pleading conditions on a defendant’s

mental state by conducting a more searching inquiry under Rule 11.



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                           INTEREST OF AMICI CURIAE

          Amici curiae are 42 leading nonprofit organizations, immigrant rights and

community groups, law clinics, and mental health providers.12 Amici seek to

improve the quality of justice for those subject to immigration detention,

deportation proceedings, and the criminal legal system. Amici therefore have a

keen interest in ensuring that rules governing our federal courts are correctly

interpreted to give noncitizens the full benefit of their constitutional and statutory

rights.

          New research indicates that a majority of Operation Streamline defendants

are subjected to coercive pre-plea conditions and do not understand the meaning of

their guilty pleas in federal criminal court, including the constitutional rights they

forego in entering them. In light of these findings, amici are concerned with

Operation Streamline’s profound impact on access to justice, human dignity, and

mental and physical well-being. While the Ninth Circuit has upheld en masse

proceedings, it has failed to consider the direct and tangible impact that Operation

Streamline’s pre-pleading and hearing conditions have on a defendant’s mental


1
  No party’s counsel authored this brief in whole or in part. No party or party’s
counsel contributed money that was intended to fund preparing or submitting this
brief. No person—other than amici curiae, their members, or their counsel—
contributed money that was intended to fund preparing or submitting this brief.
See Fed. R. App. P. 29(a)(4)(E). All parties have consented to the filing of this
brief. See Fed. R. App. P. 29(a)(2).
2
  The names of each organization are appended after the conclusion of this brief.

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state. See, e.g., United States v. Escamilla-Rojas, 640 F.3d 1055 (9th Cir. 2011);

United States v. Roblero-Solis, 588 F.3d 692 (9th Cir. 2009). Amici, therefore,

seek to illuminate Operation Streamline’s coercive conditions, the indicia of which

require adjudicators to conduct a more searching inquiry into a defendant’s mental

state to determine whether a plea is knowing, voluntary, and intelligent.

         Collectively, amici respectfully submit that this Court grant the appeal in

this case, where the district court affirmed the magistrate court’s failure to conduct

the requisite Rule 11 inquiry, despite record evidence that the appellant was

subjected to pre-plea conditions that cast doubt on her ability to enter a knowing

and voluntary plea. Appellant’s Opening Br. at 7-13, United States v. Hernandez-

Becerra, No. 18-50403 (9th Cir. Apr. 10, 2019) (Dkt. No. 6) (hereinafter “Opening

Br.”).

                            SUMMARY OF ARGUMENT

         In the spring of 2018, the Department of Justice (“DOJ”) ordered federal

prosecutors to bring criminal charges for all illegal entry and reentry offenses

referred by the Department of Homeland Security (“DHS”). In response, the U.S.

Attorney for the Southern District of California requested that the federal court

allow Operation Streamline into California for the first time since its

implementation in 2005. In July 2018, Operation Streamline was launched in San

Diego.



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      Operation Streamline began as a set of immigration enforcement policies

created by the DOJ and DHS mandating the mass criminal prosecution of

individuals crossing the U.S.-Mexico border without inspection. Since

Streamline’s inception, prosecutions for petty immigration offenses have

skyrocketed along the southwest border. To facilitate the mass prosecution of

migrants, defendants are held in inhumane conditions in border patrol jails before

being brought to federal criminal court, where magistrate judges complete all court

proceedings—from arraignment to sentencing—in a single hearing.

      The extension of Streamline into California generated an outcry: attorneys,

advocates, and journalists alike decried its implementation as “assembly-line

justice” that undermined the basic constitutional rights of criminal defendants.

See, e.g., Maya Srikrishnan, Border Report: Operation Streamline is Here, Voice

of San Diego (July 16, 2018); Doug Porter, Resistance to Operation Streamline in

San Diego, Assembly-Line Injustice for Immigrants, San Diego Free Press (July 2,

2018). Its extension also led to collaboration between social scientists,

psychologists, and lawyers interested in investigating the lived experiences of

those shuttled through the program.

      In the fall of 2018, Dr. Jude Bergkamp, a forensic psychologist with twenty

years of experience conducting trauma-informed interviews for those in the




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criminal legal system,3 journeyed to San Diego to observe court proceedings and

interview defendants who had been processed through Streamline. There, he

encountered aspects of a criminal legal system he had never seen before:

adjudicators conducted condensed and expedited hearings with multiple defendants

who were shackled and appeared disoriented and distracted. He witnessed a court

system that generally disregarded the unique aspects of each case and

demonstrated a lack of effort and diligence in assessing defendants’ understanding

of their pleas. He set out to interview defendants and their attorneys on the real-

world impact of pre-pleading conditions on a defendant’s mental state.

      Weeks later, a team from Ceres Policy Research (“Ceres Team”), a research

group grounded in healing-informed strategies to building alternative systems of

justice, followed suit. The Ceres Team observed Streamline courts in Arizona and

California and collected structured questionnaire data from defendants across both

states. The Ceres Team interviewed 46 defendants who were processed through

Streamline. While they found minor differences in the court models implemented

across Arizona and California, researchers found a court system that consistently

undermined the due process rights of immigrants across states.


3
  Dr. Bergkamp has conducted over 1,000 forensic evaluations, including
assessments of competency to stand trial, insanity at the time of the crime,
diminished capacity, risk of violence, and custody placement within the prison and
hospital settings. He currently serves in academia as Chair of a doctoral program
in clinical psychology while continuing work as a forensic evaluator.

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         Together, Dr. Bergkamp and the Ceres Team’s findings evidence a two-

pronged system of coercion. First, pre-hearing conditions, including confinement,

lack of food, and sleep deprivation, “have a clear and undeniable negative impact

on the cognitive, emotional, and physical capacities” of defendants. Jude

Bergkamp, Psy.D., Operation Streamline Report at B-17 (Jan. 28, 2018)

(unpublished report) (attached as App. B) (hereinafter “Streamline Report”).

Second, Streamline’s en masse hearings and in-hearing procedures undermine a

defendant’s ability to understand and to navigate the high-stakes plea process.

Both individually and in concert, these conditions impair a defendant’s mental

state to such a degree as to undermine their ability to enter a knowing, voluntary,

and intelligent plea as required under Rule 11 and due process.

                                    ARGUMENT

    I.     Operation Streamline Impedes a Defendant’s Ability to Enter a
           Knowing, Voluntary, and Intelligent Plea.

     From the moment of arrest, pre-pleading Streamline conditions begin to

erode a defendant’s ability to enter a knowing, voluntary, and intelligent plea.

These conditions require that a magistrate judge move beyond scripted colloquies

to review all relevant circumstances surrounding the constitutional validity of a

plea. See Carter v. McCarthy, 806 F.2d 1373, 1375 (9th Cir. 1986)

(“[d]etermining the voluntariness of a plea involves a review of all the relevant

circumstances surrounding it”); see also Brown v. Poole, 337 F.3d 1155, 1159-60

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(9th Cir. 2003) (holding that courts must focus on the defendant’s reasonable

understanding of the circumstances, which reflects “the proper constitutional focus

on what induced the defendant to plead guilty”).

      A. Research shows that Operation Streamline’s pre-hearing conditions
         negatively impact the cognitive, emotional, and physical capacities of
         Streamline defendants, undermining their ability to enter a knowing,
         voluntary, and intelligent plea.

          1. From the moment of arrest, lack of food, confinement, and sleep
             deprivation seriously impair defendants’ mental and physical states.

     For those prosecuted through Streamline, the criminal legal process begins

with an immigration arrest. Migrants are shackled by U.S. Border Patrol agents at

the end of a perilous journey rife with violence, sexual assault, robbery, and

abductions. See, e.g., Shalil Shetty, Most Dangerous Journey: What Central

American Migrants Face When They Try to Cross The Border, AMNESTY

INTERNATIONAL. Frequently, migrants enter immigration custody traumatized,

hungry, sleep-deprived, and in need of medical attention. They are then

transported to a Border Patrol station, confined up to several days with many

others, and forced to sleep on the floor in freezing cells known as “ice boxes.”

Lights glare day and night as migrants await their Streamline hearings. See

Streamline Report at B-8. As their detention continues, lack of food, confinement,

and sleep deprivation impair defendants’ cognitive, emotional, and physical

capacities.



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     Food deprivation and hunger are a staple of Streamline detention.

Individuals receive “minimum food of poor quality,” eating as little as one burrito

per day. Id. at B-8. Confinement conditions in Border Patrol jails further

undermine defendants’ mental and physical states. Across jurisdictions, 88.6

percent of immigrants describe conditions that were “degrading and

dehumanizing,” including being confined in dirty cells and denied access to fresh

air. Angela Irvine, Mitzia Martinez, Crystal Farmer, & Aisha Canfield, Ceres

Policy Research, How Operation Streamline Courts Fail to Provide Due Process

Protections for Immigrant Defendants 4 (2019) (hereinafter “Ceres

Report”), http://bit.ly/ceres_border.

     A vast majority report being abused or neglected by guards. Id. (noting that

80.5 percent of respondents reported intimidation, verbal, or physical abuse).

Individuals describe sleeping on the floor in “a cold, crowded, concrete square

with only an open toilet.” Streamline Report at B-6. Others report being confined

in a four-by-fifteen-meter room used to house twelve people at time. Id. at B-4.

As a result, those detained experience “acute states of stress, insomnia, permanent

traumatic reactivation, and acute psychotic states.” Id. at B-11. The impact of

confinement continues after detention, manifesting in serious cognitive

impairments such as “concentration and attention problems, short-term memory

troubles and mental rumination” as defendants enter their Streamline hearings. Id.



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     In addition, sleep deprivation directly interferes with defendants’ ability to

navigate their fast-paced, complex, and high-stakes Streamline proceedings. Over

80 percent of defendants reported detention conditions that undermine their ability

to sleep. Ceres Report at 4 (noting Streamline defendants were subjected to cold

temperatures, had no access to blankets, and were held in facilities where bright

lights were on all night). Lack of sleep leaves defendants with impaired cognitive

functioning, “including alterations in perception, attention, memory, executive

functions, and affective processing.” Streamline Report at B-12. During

Streamline plea colloquies, sleep-deprived individuals are left “less discriminating

in handling ambiguous material, less confident, [and] more open to leading

remarks.” Id. at B-13. Even a single night of sleep deprivation can strongly affect

issues of memory and attention. Id. Ultimately, Streamline’s confinement

conditions and attendant sleep deprivation have “a clear and undeniable negative

impact on the cognitive, emotional, and physical capacities of an individual.” Id.

at B-17.

     Taken together, this research demonstrates that Streamline’s pre-hearing

conditions impair a defendant’s mental state, raising grave constitutional concerns

regarding a defendant’s ability to enter a knowing, voluntary, and intelligent plea.




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          2. Federal courts have recognized that confinement, lack of food, and
             sleep deprivation undermine the knowing and voluntary nature of a
             defendant’s statements.

     Courts have long acknowledged that confinement, lack of food, and sleep

deprivation impair a defendant’s mental state and impact the voluntariness of their

statements. See Clewis v. Tex., 386 U.S. 707, 712 (1967) (finding defendant’s

statement involuntary and inadmissible where defendant’s faculties were “impaired

by inadequate sleep and food, sickness, and long subjection to police custody”);

see also Greenwald v. Wis., 390 U.S. 519 (1968) (finding confession involuntary

where defendant was interrogated without food or sleep); Taylor v. Maddox, 366

F.3d 992, 1015-16 (9th Cir. 2004) (finding defendant’s confession involuntary

based in part on the fact that he “was given no food, offered no rest break, and may

or may not have been given any water”); Diamond v. United States, 432 F.2d 35,

40 n.4 (9th Cir. 1970) (ordering an evidentiary hearing to determine voluntariness

where defendant was, inter alia, put in disciplinary confinement, deprived of food,

and “forced to sleep on a cold cement floor, without any blankets”). Under this

established precedent, Streamline’s pre-pleading conditions impair defendants’

mental states and call into question the knowing and voluntary nature of their

subsequent pleas.4


4
 Courts have recognized the impact of pre-plea trauma in other criminal legal
contexts. As noted by The National Association of State Mental Health Program
Directors Association, “powerlessness, fear . . . and a constant state of alertness”

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     When defendants’ mental states are so impaired as to impact the

voluntariness of their guilty pleas, magistrate judges must venture beyond a

scripted plea colloquy to ensure that pleas are constitutionally sound. See United

States v. Torres, 697 F. App’x 541, 542 (9th Cir. 2017) (“If a defendant’s

statements during a plea colloquy raise questions about his mental state, the court

accepting the plea has a duty to inquire further.”).

      B. Research shows that Operation Streamline’s plea proceedings are
         inadequate to ensure that a defendant’s plea is knowing, voluntary,
         and intelligent.

          1. Streamline's hearing structure impedes defendants’ ability to
             understand the nature and consequences of their pleas.

      The Supreme Court has emphasized that, at a minimum, defendants must

understand the rights they waive when entering a guilty plea. Boykin v. Ala., 395




may impede defendants’ abilities to understand and navigate their plea hearings,
including “memory impairment; confusion about courtroom procedures; [and]
inability to process implications of the plea.” Substance Abuse and Mental Health
Serv. Admin., Essential Components of Trauma-Informed Judicial Practice 1, 6
(2013). As a result, the Association calls for increased scrutiny of a defendant’s
plea, including potential time for adjournment to allow discussion by the
courtroom team of whether and how to accept the plea. Id. Additionally, a
number of national organizations have incorporated trauma-informed perspectives
into their criminal legal practice and procedures, including the National
Commission on Correctional Healthcare, the National Council of Juvenile and
Family Court Judges, the National Juvenile Defenders Center, and the National
Center for Mental Health and Juvenile Justice. Susan Ko et al., Creating Trauma-
Informed Systems: Child Welfare, Education, First Responders, Health Care,
Juvenile Justice, 39 Prof. Psychol.: Res. and Prac. 4, 400 (2008).



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U.S. 238, 243-44 (1969); H.R. Rep. No. 247 at 7 (1975) (incorporating Boykin into

Rule 11). Research shows that Streamline defendants do not meet even this

minimal standard. In fact, Ceres survey data indicates that it is more likely than

not that a Streamline defendant will not understand that they are renouncing

fundamental rights through their guilty plea, including the right to trial, the right to

appeal their conviction, and the right against self-incrimination. Ceres Report at 6.

A significant majority of defendants surveyed did not understand they were in

criminal court, believing instead that they were in immigration or other civil

proceedings. Id. at 5. Eighty percent of defendants did not understand they would

receive a conviction at the end of the proceeding. Id. at 5. This data suggests that

Streamline’s in-hearing mechanisms for ensuring that a guilty plea is knowing,

voluntary, and intelligent are inadequate under Rule 11 and due process.

      Defendants’ confusion starts at the moment of prosecution. From the ice

boxes of Border Patrol, migrants are transported to a federal courthouse where they

become criminal defendants. Frequently, this transition occurs without defendants’

full knowledge, though it carries dramatic legal consequences. Id. at 5.

      Shackled in leg restraints, defendants are brought into a federal courtroom in

groups of fifteen to twenty for a high-stakes, single-day hearing. Id. at 4-5 (finding

that 90.9 percent of Streamline defendants reported being shackled at least once).

When defendants arrive in court, en masse, assembly-line plea colloquies sacrifice



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individualized response in favor of group conformity. A federal magistrate judge

quickly conducts an initial appearance and defendants are arraigned. As the

Streamline hearing unfolds, defendants remain anxious and unsure about the

proceedings. Streamline Report at B-3. The magistrate judge recites scripted,

“yes” or “no” questions in monotone to assess whether defendants are proceeding

knowingly, voluntarily, and intelligently, including: “Do you understand the

charge against you? Do you understand that you are giving up your rights? Do

you voluntarily plead guilty?” Ceres Report at 6. The magistrate judge’s

questions are filtered through an interpreter, further obscuring their speech. Id.

The proceedings happen so swiftly that 45.7 percent of defendants report not being

asked one of the plea questions. Id. In the case of Ms. Hernandez-Becerra, the

magistrate judge spent an average of just six minutes on each defendant. Opening

Br. at 2.

       Almost invariably, defendants answer “sí” to all questions. In some courts,

as in San Diego, these rote recitations are interrupted by defense attorney

objections to the constitutional inadequacies of the proceedings. But these

objections are generally overruled as presiding magistrate judges mechanically

issue sentences.

       Defendants enter their proceedings with little meaningful pre-hearing

counseling due to the constraints imposed by Streamline. Forty-three percent of



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defendants report never meeting with an attorney before deciding whether to enter

their plea. Ceres Report at 7. This suggests that a significant percentage of

Streamline defendants either do not receive legal counseling regarding their pleas

or have such cursory and limited encounters with their lawyers that they do not

understand they are meeting with an attorney at all.

      Even defendants with access to counsel meet only briefly with their

attorneys in rushed, public settings. In San Diego, where Ms. Hernandez-Becerra

was processed, defendants are taken from Border Patrol stations to a noisy parking

garage inside the courthouse filled with tables and chairs. Streamline Report at B-

8. In this lot, defendants are provided a thirty-minute meeting with a federal

defender while federal marshals stand watch. Id. Defendants are disoriented,

fatigued, alarmed, and confused. Id. Many “simply ask [defense] counsel to tell

them what to do instead of having the capacity to make a reasoned and educated

choice themselves.” Id. at B-10; see also Appellant’s Opening Br. at 9-13. For

most, this brief interaction is the first time they have been told they are being

charged with a crime, and is the only opportunity they have to receive an attorney’s

advice regarding the charges against them and the rights they waive by pleading

guilty. Appellant’s Opening Br. at 10.

      Defense attorneys express concerns about individuals’ cognitive functioning

due to sleep deprivation, hunger, and emotional dysregulation, Streamline Report



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at B-8, and are unable to discern whether defendants’ pleas are knowing,

voluntary, and intelligent. Excerpts of Rec. at 53, United States v. Hernandez-

Becerra, No. 18-50403 (9th Cir. Apr. 10, 2019) (Dkt. No. 7) (hereinafter “Excerpts

of Rec.”). Time constraints mean that important details about individual cases

likely go undiscovered. Streamline Report at B-8 (noting that defendants’ brief,

thirty-minute interviews were barely enough time for introductions). For example,

there is little bandwidth in these attorney-client meetings for any proper

immigration screening. Appellant’s Opening Br. at 9-10 (describing attorneys’

time-constrained interviews did not even allow for review of discovery or

discussion of plea consequences). Additionally, defendants’ ongoing trauma mean

that they may not be able to communicate the facts essential to identifying

immigration relief, including asylum claims that could lead to dismissal of their

Streamline criminal cases.5 Bessel van der Kolk, The Body Keeps the Score 178

(2014) (noting that recalling and relaying traumatic memories impedes areas of the

brain related to verbal expression, sense of location, and sense of time, making it



5
  In addition to the deportation of asylum seekers, it is likely that Streamline leads
to the deportation of U.S. citizens. Determining citizenship can be complex, and
defendants may not be aware that they have claims to citizenship. Stephen
Lemons, Operation Streamline costs taxpayers millions, Dallas Observer (Oct.
2010). Federal Public Defender offices in Tucson, Las Cruces, El Paso, and Del
Rio all cited examples of U.S. citizens and legal permanent residents they have
represented in Streamline proceedings. Joanna Jacobbi Lydgate, Assembly-Line
Justice: A Review of Operation Streamline, 98 Calif. L. Rev. 481, 533 (2010).

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difficult to gather a “coherent logical narrative”); Sarah Katz & Deeya Haldar, The

Pedagogy of Trauma-Informed Lawyering, 22 Clinical L. Rev. 359, 366, 387

(2016) (noting that clients may find it difficult to relay their stories after

experiencing trauma, including memory disruption, traumatic flashbacks, and

distrust in being asked about the traumatic events). Thus, “it is likely that many

people with legitimate claims to asylum [are] prosecuted and deported” through

Streamline. Michael Corradini et al., Vera Inst., Operation Streamline: No

Evidence that Criminal Prosecution Deters Migration 7 (2018).6

      Because of these systemic constraints, defendants are not given the

opportunity to understand the legal ramifications of a guilty plea in Streamline

courts. Even after meeting with counsel, many do not have a basic understanding

of what it means to be charged with a misdemeanor or a felony in the United

States, or that such convictions may leave them unable to return to the United

States lawfully. See, e.g., Streamline Report at B-7 (stating that a defendant “did

not provide an understanding of the difference between a felony and misdemeanor,

possible penalties, implications for his immigration case . . . and the specific

elements of the current alleged crime,” even after his initial attorney-client




6
 While asylum seekers have the right to an immigration hearing, defendants who
wished to express a fear of return to their presiding magistrate judge felt unable to
do so and were subsequently deported. Ceres Report at 6.

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interview); see also Joanna Lydgate, Assembly-line Justice: A Review of Operation

Streamline, 98 Calif. L. Rev. 481, 519 (2010).

     Equipped with little, if any, attorney advice, defendants enter a single hearing

in which a Streamline magistrate conducts initial appearances, arraigns defendants,

accepts guilty pleas, and imposes sentences for several defendants at a time. After

directing a colloquy question to the first defendant in the group, a magistrate judge

prompts an answer to the same question moving down the row(s) of defendants.

See Streamline Report at B-18. Some defendants appear “surprised and confused

when the judge called their name, and seemed to parrot the previous answer.” Id.

at B-4. However, to facilitate fast-paced Streamline proceedings, plea colloquies

are limited to scripts of “short, concrete, and close-ended questions.” Id. at B-18.

     These rote, scripted inquiries belie the importance of the rights waived by

defendants as they enter their pleas, including the right against self-incrimination,

the right to trial by jury, and the right to confront one’s accusers. Boykin v. Ala.,

395 U.S. 238, 243 (1969). Courts must approach this waiver with the “utmost

solicitude” to ensure that defendants fully understand the guilty plea and its

consequences. Id. at 243-44. Yet Streamline plea colloquies fall woefully below

this standard. In contrast to standard plea colloquies in criminal court,

Streamline’s en masse, assembly-line colloquies sacrifice individualized, critical

responses in favor of group conformity.



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     Applying long-standing psychological principles, researchers have observed

that Streamline proceedings significantly diminish defendants’ individual agency

as decision-makers while entering their pleas. Through repeated and fast-paced

questioning, defendants experience “responsibility diffusion,” in which group

members who know that a previous decision is shared among several people feel

less personally responsible than if the decision was made alone and without such

knowledge. Streamline Report at B-18. As a result, defendants feel a diminished

sense of individualized responsibility in entering their pleas. Unsurprisingly,

individuals are “more likely to answer in line with the rest of the group,” an issue

in psychology known as “response set.” Id.

     Because of responsibility diffusion and response set, individuals are more

likely to suspend critical thinking and defer to the consensus of the group. Id. at B-

17. This issue is all the more salient given that Streamline defendants’ mental

states are already undermined when they enter their hearing as a result of their pre-

hearing confinement. Id. at B-13 (defendants are “less discriminating in handling

ambiguous material, less confident, [and] more open to leading remarks”).

Combining individual legal cases into one en masse proceeding can, therefore,

“undermine the individual’s critical thought, unique considerations, and volitional

action.” Id. at B-18.




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         2. The overlap between the immigration and criminal systems in
            Streamline proceedings further undermines defendants’ ability to
            understand the nature and consequences of their pleas.

      Compounding these issues is the significant overlap between the criminal

and immigration systems inherent to Operation Streamline. The intersection of

criminal and immigration law is notoriously difficult to navigate for even

experienced attorneys. See, e.g, Padilla v. Kentucky, 559 U.S. 356, 377-78, 387-88

(2010) (Alito, J., concurring). Throughout the Streamline process, the overlap

between criminal and immigration proceedings makes it highly challenging for

defendants to understand the transition from one system to the next. Ceres Report

at 5 (noting that a significant majority of defendants did not understand whether

they were in criminal or immigration court). Once defendants have entered

Streamline through an immigration arrest, they are transferred to federal criminal

court for their Streamline proceedings. After entering pleas, defendants who

receive a sentence of time served are quickly returned to immigration custody as

though they had never left it. Other defendants receive sentences of days, weeks,

or months in criminal custody, and are then swiftly deported.

      Enmeshed criminal and immigration consequences continue even after a

defendant’s release. Every migrant processed through Streamline is marked by an

inescapable criminal record that carries with it significant long-term immigration

consequences, including the possibility of a felony charge for later crossings,



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potential visa ineligibility, and often loss of the ability to seek asylum. Defendants

are often unaware of the rights they forego in pleading guilty, which extend far

beyond the right to trial. Ceres Report at 5 (over half of defendants did not know

that their guilty plea could impact their ability to seek asylum). Additionally,

individuals who have experienced trauma, or are in the process of experiencing

trauma, may not be able to communicate the facts essential to identifying viable

asylum claims or other immigration relief relevant to their Streamline proceedings.

Sarah Katz & Deeya Haldar, The Pedagogy of Trauma-Informed Lawyering, 22

Clinical L. Rev. 359, 366, 387 (2016).

      The conditions of Streamline hearings undercut defendants’ ability to make a

knowing and voluntary decision to plead guilty by providing insufficient access to

fulsome legal advice and encouraging group conformity. The constitutional

concerns raised by Streamline demand a renewed focus on the safeguards designed

to ensure the integrity of a defendant’s plea. Instead, magistrate judges have

responded by conducting scripted, rote colloquies in a manner facially inconsistent

with their mandate under Rule 11 and the Constitution.

II.   Against the Backdrop of Coercive Pre-Pleading Conditions and
      Inadequate Plea Proceedings, Magistrate Judges Must Conduct More
      Searching Inquiries To Comply With Rule 11.

      Operation Streamline is fundamentally inconsistent with Rule 11, which

codifies an extensive history in American jurisprudence of protecting the



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constitutional integrity of a defendant’s guilty plea. The protection of defendants’

pleas is historically rooted in the idea that guilty pleas invoke fundamental

constitutional rights—the waiver of which implicates grave due process concerns.

In Streamline, defendants, caught in the nearly indistinguishable overlap between

the civil immigration and criminal legal systems, enter into plea colloquies facing

particularly acute consequences should they choose to plead guilty. Rather than

confronting the due process challenges inherent in Streamline proceedings,

adjudicators have normalized a Rule 11 procedure that prioritizes form over

substance in contravention of Rule 11’s historic purpose.

      Rule 11 requires procedures that are consistent with constitutional due

process mandates. Magistrate judges “cannot permit [Rule 11] to be disregarded in

the name of efficiency.” United States v. Roblero-Solis, 588 F.3d 692, 693 (9th

Cir. 2009). To comply with Rule 11 and its implicit constitutional strictures, a

magistrate judge must conduct a meaningful inquiry to ensure that a defendant’s

guilty plea is knowing, voluntary, and intelligent. Streamline, which promotes

assembly-line proceedings with rote plea colloquies, stands in violation of Rule 11

and the constitutional protections it codifies.




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      A. Rule 11 codifies an extensive history in American jurisprudence of
         protecting the integrity of a defendant’s guilty plea.

          1. Rule 11 was established to protect a defendant’s due process rights.

      A defendant’s conviction based on a plea of guilty is only viable if that plea

is knowing, voluntary, and intelligent. Fed. R. Crim. P. 11.7 In practice, an

adjudicator must determine that a defendant entered their guilty plea with an

awareness of the constitutional rights being waived, with an understanding of the

nature and implications of their plea, and without improper influence by threats or

coercion. Boykin v. Ala., 395 U.S. 238, 242-43 (1969); McCarthy v. United States,

394 U.S. 459, 466 (1969).

      At common law, courts long required that a defendant plead knowingly and

voluntarily because of the serious, and often punitive, consequences that guilty

pleas entail. See, e.g., Kercheval v. United States, 274 U.S. 220, 223 (1927)

(noting that a guilty plea “is itself a conviction … Out of just consideration for

persons accused of crime, courts are careful that a plea of guilty shall not be

accepted unless made voluntarily after proper advice and with full understanding

of the consequences.”). This requirement is rooted in constitutional principles.

See, e.g., Smith v. O’Grady, 312 U.S. 329, 334 (1941) (holding that, if proven, the


7
 While on its face, Rule 11 states only that a guilty plea be “voluntary,” caselaw
and court practice affirm that a defendant’s plea must generally be “knowing,
voluntary, and intelligent.” Boykin v. Ala., 395 U.S. 238 (1969); McCarthy v.
United States, 394 U.S. 459 (1969).

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circumstances of defendant’s unknowing guilty plea were “wholly irreconcilable

with the constitutional safeguards of due process”).

      In 1944, common law protections for defendants were codified in the

adoption of the Federal Rules of Criminal Procedure. In its original form, Rule 11

provided that “[t]he court … shall not accept the plea [of guilty] without first

determining that the plea is made voluntarily with understanding of the nature of

the charge.” As noted by the Advisory Committee at the time, Rule 11 was

“substantially a restatement of existing law and practice.” Fed. R. Crim. P. 11

advisory committee’s note to 1944 adoption. Rule 11 thus enshrined standards

long established in American courts.

          2. Amendments to Rule 11 steadily increased protections afforded
             criminal defendants.

      As Rule 11 was amended over the ensuing 70 years, it continued to

emphasize the vital importance of safeguarding plea procedure. Indeed, as guilty

pleas have become the means by which a majority of criminal cases are settled, the

Advisory Committee and Congress have consistently responded by increasing the

protections afforded criminal defendants. See, e.g., Fed. R. Crim. P. 11 advisory

committee’s note to 1966 amendment. In 1966, Rule 11 was amended to require

the court to address defendants personally during plea colloquies, to inquire into

defendants’ appreciation of the consequences of their plea and the nature of the

charges raised against them, and to make independent findings that the pleas had


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factual bases. Fed. R. Crim. P. 11 (1966). Resolving a split among circuit courts

regarding the extent to which a defendant needed to be personally addressed, the

Advisory Committee rallied its support behind circuits interpreting Rule 11 to

require “more than a perfunctory examination.” Domenica v. United States, 292

F.2d 483, 485 (1st Cir. 1961) (noting that “A mere routine inquiry – the asking of

several standard questions – will not suffice. . . . It is the duty of a federal judge

before accepting a plea of guilty to thoroughly investigate the circumstances under

which it is made.”) (citing United States v. Lester, 247 F.2d 496, 499-500 (2d Cir.

1957)). In expanding protections for defendants, the Advisory Committee

emphasized that “the fairness and adequacy of the procedures on acceptance of

pleas of guilty are of vital importance in according equal justice to all in the federal

courts.” Fed. R. Crim. P. 11 advisory committee’s note to 1966 amendment.

      In conjunction with amendments to Rule 11, the Supreme Court has

continually emphasized the vital importance of rigorous plea colloquies as a

safeguard against constitutional due process violations. In the landmark case

Boykin v. Ala., 395 U.S. 238 (1969), the Court reversed a conviction where an

affirmative showing of voluntariness on the record was lacking. In deciding the

case on constitutional grounds, Justice Douglas highlighted, “A plea of guilty is

more than a confession . . . it is itself a conviction.” Id. at 242. As such, a

defendant’s plea functions as a waiver of vital constitutional rights: namely, the



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privilege granted against compulsory self-incrimination guaranteed under the Fifth

and Fourteenth Amendments; the right to a trial by jury; and the right to confront

one’s accusers. Id. at 243. Echoing the language of the Rule’s drafters, the Court

emphasized that the consequences of criminal proceedings demand a thorough

inquiry by an adjudicator into the defendant’s understanding of the charge, an issue

only heightened in the Streamline context, where convictions are enmeshed with

immigration consequences. As noted by Justice Douglas, the stakes faced by

defendants demand “the utmost solicitude of which courts are capable” in

questioning the defendant to “make sure [she] has a full understanding of what the

plea connotes and of its consequence.” Id. at 243-44. In the absence of a

substantive inquiry, “ignorance, incomprehension, coercion, terror, inducements,

subtle or blatant threats might be a perfect cover-up of unconstitutionality.” Id. at

242-43.

      Today, the standards of Boykin stand not merely as precedent; they are

cemented into Rule 11 itself. Prompted by Boykin, Rule 11 was again amended in

1975 to ensure the rejection of pleas made as a result of force, threats, or promises.

H.R. Rep. No. 247 at 7 (1975) (stating that the amendments should ensure that “the

warnings given the defendant … include those that Boykin v. Alabama said were

constitutionally required.”). Through the amendments, the Rules Committee and

Congress further cemented Rule 11’s role as a vital safeguard for protecting the



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fundamental constitutional rights implicated in a defendant’s plea of guilty. The

amendments enumerated a detailed list of rights and effects of which courts were

required to advise defendants and to ensure defendants understood. The updated

Rule also heightened courts’ requirement of informing a defendant of the

consequences of the plea, requiring that a defendant understand “the mandatory

minimum penalty provided by law, if any, and the maximum penalty provided by

law.” Fed. R. Crim. P. 11(c)(2) (1975).

      Interpreting these amendments, circuit courts have consistently struck down

plea colloquies that fail to conduct a meaningful inquiry into a defendant’s

decision to plead guilty. See, e.g., United States v. Lincecum, 568 F.2d 1229, 1231

(5th Cir. 1978) (single response by a defendant that he “understands” the charge

gives no assurance or basis for believing that he does); United States v. Howard,

407 F.2d 1102, 1104-05 (4th Cir. 1969) (finding brief questioning which included

the question “Am I correct then in assuming you are making this plea voluntarily?”

to be constitutionally inadequate); United States v. French, 719 F.2d 387, 390

(11th Cir. 1983) (trial judge must determine whether defendant is fully aware of

the consequences of action before accepting guilty plea); Majko v. United States,

457 F.2d 790 (7th Cir. 1972) (reading indictment and asking whether defendant

has discussed charge with attorney does not satisfy constitutional requirements for

entering a guilty plea).



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      B. A more extensive Rule 11 inquiry is necessary to protect the due
         process rights of defendants prosecuted through Operation
         Streamline.

      As described in Point I, supra, Streamline courts conduct the very “routine

inquir[ies]” that the Advisory Committee rejected. Domenica, 292 F.2d at 485-86

(explaining federal clerk’s single inquiry of “‘Do you wish to change your plea?’”

to defendant was not sufficient to establish compliance with Rule 11); Lester, 247

F.2d at 499, 501 (finding that judge “failed to perform his [Rule 11] duty” even

where defendant stated that he “understood the charge against him” and holding

that a plea of guilty is not voluntary “if the plea is entered by one who is not fully

aware of the consequences of his plea”). The record shows that defendants are

held at Border Patrol stations under degrading and dehumanizing pre-hearing

conditions. Excerpts of Record at 55 (describing how Streamline defendants’

attorneys raised to the magistrate judge that defendants had been subject to

confinement at Border Patrol stations since their arrest). Despite this, Streamline

courts like the one in which Ms. Hernandez-Becerra was processed fail to conduct

the searching Rule 11 inquiry that such indicia require to determine whether a

defendant’s plea is knowing, voluntary, and intelligent. Id. (noting that despite the

magistrate judge’s recognition that “members of the judiciary are uncomfortable

with [Streamline],” the magistrate judge declined to conduct a more searching

inquiry into the voluntariness of Ms. Hernandez-Becerra’s plea, concluding, “it is



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what it is”). The failure of Streamline courts to conduct a more thorough Rule 11

inquiry is all the more egregious in light of en masse, expedited court proceedings.

It is no wonder that defendants plead guilty at an extraordinarily high rate8, despite

the long-term immigration and criminal consequences of entering a guilty plea.

      Yet the history and text of Rule 11 clearly require a magistrate judge to

conduct a more extensive Rule 11 inquiry when faced with the pre-pleading

conditions and hearing structure of Streamline. As the Ninth Circuit has noted,

“[W]here a district court is made aware during a Rule 11 proceeding that a

defendant’s competency to enter a plea may be impaired, it must conduct an

inquiry before accepting a guilty plea.” United States v. Timbana, 222 F.3d 688,

705 (9th Cir. 2000); see also United States v. Parra-Ibanez, 936 F.2d 588, 595 (1st

Cir. 1991) (holding that a court “must broaden its Rule 11 inquiry with a view to

assessing the impact” of a potentially influencing factor); United States v. Rossillo,

853 F.2d 1062, 1067 (2d Cir. 1988) (holding that “before finding that Rossillo’s

plea was voluntarily and knowingly entered,” the court should have “inquired

further into defendant’s state of mind once the court was alerted” as to a potential

concern); United States v. Cole, 813 F.2d 43, 46 (3d Cir. 1987) (“Rule 11 counsels

a district court to make further inquiry into a defendant’s competence to enter a


8
 For example, in 2016, 88.5 percent of individuals convicted of entry-related
offenses pled guilty. American Immigration Counsel, Prosecuting Migrants for
Coming to the United States (May 1, 2018).

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guilty plea once the court has been informed” of a fact that may “impair[] his

ability to make a knowing and intelligent waiver of his constitutional rights.”).

                                  CONCLUSION

      The findings of Dr. Bergkamp and the Ceres Team highlight the one-two

punch of Operation Streamline’s pre-pleading and in-hearing conditions.

Together, these two defining aspects of Operation Streamline fundamentally

impede a defendant’s ability to enter a knowing, voluntary, and intelligent plea as

required by Rule 11 and due process.

      Courts have long held that it is error to accept a plea without an affirmative

showing that a plea is voluntary and intelligent. See Boykin v. Ala, 395 U.S. 238

(1969). Congress and the Supreme Court, in turn, have gradually expanded court

procedures to ensure this determination is accurately made, so as to protect the

integrity of a defendant’s guilty plea. The procedures employed by Streamline

courts are simply insufficient to meet the standards set out by Congress and the

Supreme Court. A court’s long-recognized constitutional obligation during the

pleading process requires a thorough inquiry into the voluntary, knowing, and

intelligent nature of each defendant’s plea—not merely a generalized, rote

colloquy. To turn a blind eye to the conditions of confinement and procedural

shortcuts of Streamline is to forsake due process safeguards enshrined in Rule 11.

Magistrate judges must address the direct, tangible impact that Streamline’s pre-


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pleading and hearing conditions have on a defendant’s mental state by conducting

a more searching inquiry under Rule 11.



Dated: April 17, 2019                 Respectfully submitted,
New York, NY
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                          APPENDIX A:


                        List of Amici Curiae




                               A-001
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                           LIST OF AMICI CURIAE
Al Otro Lado
American Civil Liberties Union of San Diego & Imperial Counties
American-Arab Anti-Discrimination Committee (ADC)
Americans For Immigrant Justice
Antioch University
Bender's Immigration Bulletin (LexisNexis)
Boston College Immigration Clinic
Brooklyn Defender Services
Coalition for Humane Immigrant Rights (CHIRLA)
Columbia Law School Immigrants' Rights Clinic
Cornell Law School Asylum and Convention Against Torture Appellate Clinic
Council on American-Islamic Relations - California
Dolores Street Community Services
Hofstra Law School
Immigrant and Non-Citizen Rights Clinic, CUNY School of Law
Immigrant Justice Corps
Immigrant Rights Subcommittee, Montgomery, County, MD ACLU
Immigration and Human Rights Work Group, New York University
Postdoctoral Program in Psychotherapy and Psychoanalysis
Justice Strategies
Kathryn O. Greenberg Immigration Justice Clinic, Cardozo School of Law
LatinoJustice PRLDEF
Law Office of Patricia M. Corrales
Loyola University New Orleans College of Law
Make the Road New York
Maryland Carey Immigration Clinic

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Mississippi College School of Law Immigration Clinic
Muslim Advocates
NSC Community Legal Defense
Pangea Legal Services
Project South
Public Counsel
Reformed Church of Highland Park
Southeast Asia Resource Action Center
The Bar Association of San Francisco
The Florence Immigrant & Refugee Rights Project
The Justice & Diversity Center of The Bar Association of San Francisco
Transit Immigrant Assistance Silver Spring
UC Davis Immigration Law Clinic
University of Colorado Law School
UnLocal, Inc.
Washington Defender Association
Western State College of Law Immigration Clinic




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                          APPENDIX B:


                  Operation Streamline Report




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CONFIDENTIAL – PRIVILEGED COMMUNICATION                                                                            1


                                              January 28, 2018
                                         Operation Streamline Report
                                          Jude Bergkamp, Psy.D. 1

Ms. Kara Hartzler – Federal Defenders of San Diego, Inc.
225 Broadway St 900
San Diego, CA 92101

The following format emulates the standard forensic report structure with the available data and method of
collection presented first, then the method of analysis and results, with subsequent conclusory opinion. The veracity
of the opinion is based on the available data and method of analysis and may change with additional information.
Specific to this report, the sequence follows the temporal progression of collected data, relevant literature review
and application, and resulting conclusory opinion.

Experience & Training of the Undersigned
The undersigned has over twenty years of experience in the field of psychology, with ten years
of experience in forensic psychology specifically. Currently serving both in academia, as Chair
of a doctoral program in clinical psychology, as well as a forensic evaluator. The undersigned
has conducted over 1000 forensic evaluations including competency to stand trial, insanity at the
time of the crime, diminished capacity, violence risk assessments, and custody placement within
the prison and hospital settings. As providing expert testimony is routine for most criminal
forensic evaluators, the undersigned has served to educate and provide an opinion to the court
and trier of fact in multiple cases. In addition, the undersigned conducts active research in the
application of cultural competency in forensic evaluations, including the impact of language,
worldview, acculturation on the statutory criteria of specific legal questions. (CV included in the
appendices.)

Referral Question
In mid-July 2018, a representative of the Federal Defenders of San Diego, Inc. requested
consultation and applied research regarding the implementation of Operation Streamline (OS) in
Southern California. In early September, an agreement was finalized between the undersigned
and the Federal Defenders of San Diego, Inc. This agreement included observation of court
proceedings and interviews with defense attorneys and defendants. In addition, collaborative
consultation with the New York University Immigration Law Clinic was also included in the
scope of work. The final product is a written declaration of findings and conclusory opinions.

Database & Procedures
Review of various transcripts of prior Streamline hearings – United States v. Mendez-Rodriguez
(2018) 2
Reviewed case law




1
  This evaluation and report was completed with the assistance of Kelle Agassiz, Research Fellow at Antioch
University Seattle.
2
  United States v. Mendez-Rodriguez, 18-mj-20285-JMA-JLS-1(S.D. Cal. 2018)



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Interviews with three defendants (November 15 & 16, 2018), including a partial Mental Status
Exam 3 and portions of a specialized semi-structured interview, the Evaluation of Competency to
Stand Trial-Revised (ECST-R) 4
Observation of Streamline proceedings, including initial appearance, arraignment, plea, and
sentencing (November 15 & 16, 2018)
Interviews with defense attorneys from the Federal Defenders of San Diego (November 15 & 16,
2018)
Informal interview of judge and translator
Review of pertinent psychological literature (references in appendices)

Findings
The following is a summary from each of the observations and interviews conducted.

Observation of Arraignment Hearing on November 15, 2018:

Approximately 15 defendants were escorted into the jury box of the courtroom in street clothes
with leg restraints. These defendants reportedly came directly from Border Patrol detention
immigration detention facilities. Defendants appeared anxious, disoriented, and confused.
Hygiene/grooming marginal with disheveled appearance. Sensorium appeared generally intact
for most defendants. Some exhibited wide-eyed stares, not appropriately attending to either the
judge or translator. Some demonstrated significant psychomotor agitation (shaking legs, picking
at clothes). Attention/concentration appeared impaired. For some, speech expression/reception
appeared impaired. Others appeared angry, frequently taking off their translation headsets and
talking with each other. Most did not make eye contact with their defense counsel. Most
responded to their name, with a few exhibiting some latency. To the short and scripted questions
regarding understanding from the judge, all defendants appeared to parrot the previous
defendant’s response in the affirmative. Based on observations, it appeared that at least some of
the defendants did not understand to what they were responding. In addition, the judge used a
flat, monotone voice with somewhat scripted narrative that may have an impact on defendant
understanding. This is further conflated by language translation.

Observation of Plea Hearing on November 15, 2018:

Approximately 10 defendants were escorted into the jury box, dressed in jail clothing with leg
restraints. Most defendants appeared oriented to person, place, time, and situation. Sensorium
generally intact. Hygiene/grooming adequate. Appropriate eye contact, tracking the
proceedings, looking at either the judge, translator, or defense counsel. Attention/concentration
appeared intact for most defendants. Speech expression and reception also appeared intact for
most. No overt expressions of anger or resignation apparent.

After perfunctory identification, the judge began a set of close-ended questions to assess
knowing/intelligent/voluntary domains. These questions were concrete, close-ended inquiry

3
  A Mental Status exam utilizes both inquiry and observation to provide a diagnostic depiction of the individual at
the present moment across the domains of cognition, affect, and functioning.
4
  Rogers, Tillbrook, & Sewell (2004). The ECST-R has been designed to assess those mental abilities held to be
requirements for competency to stand trial in Dusky v. United States (1960) and subsequent cases.



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such as, “Do you understand the charge against you?” and “Have you met with your attorney?”
Upon asking the question to the first defendant, the judge did not repeat the question for each
subsequent defendant, instead asking, “How about you, Mr. X?”. Each defendant provided the
same response as the previous defendant. Some appeared surprised and confused when the judge
called their name, and seemed to parrot the previous answer. In addition, the judge used a flat,
monotone speech with scripted questions that appeared to impair the defendant’s ability to track
and understand the content. This is further conflated by language translation.

During the submission of pleas, some defendants appeared to be looking at their defense attorney
for guidance and reassurance. While there may be a risk of the defendant surrendering their
individual choice or being coached by their attorney, it seemed more of an indication of an
established attorney/client relationship than an appreciation of legal peril.

Interview with Defendant #1 on November 15, 2018:
The accuracy of the following information is necessarily limited by the veracity of the defendant’s self-report and
the linguistic confound. Details provided as relevant to the impact of the confinement and proceedings have on the
individual’s capacity to make a knowing, intelligent, and volitional plea.

Preliminary Mental Status Exam – 25-year old male of average stature. Dressed in street clothes,
appropriately dressed for the season. Adequate hygiene/grooming. Intermittent but appropriate
eye-contact. Sensorium intact. Oriented to person, place, time, and situation.
Attention/concentration intact. Speech expression and reception sound in terms of volume, rate,
tone, prosody, and articulation. Simultaneous translation service utilized. Reported mood of
scared and anxious congruent with his blunted affect. Inferred from the discussion, defendant
demonstrated adequate cognitive functioning across the domains of memory, abstraction,
judgment, insight, and conceptualization. His estimated intelligence is in the average range
based on general fund of knowledge, vocabulary, and level of education.

Defendant reported coming to the United States to live with his maternal grandparents and
escape dangerous conditions back home. After being apprehended at the border, he was detained
at the immigration holding facility for a few days, then the federal detainment facility (GEO) for
approximately two weeks. Confinement conditions at the immigration holding facility described
as a 4x15 meter room for 12 people at one time with poor food and lack of conducive sleeping
arrangements. He was housed with some criminals that were smuggling drugs and other serious
crimes. Defendant did not understand why he was being housed with criminals, as he did not
perceive his action as a criminal offense. Common experience was that if an individual was
caught crossing the border they would be detained by immigration and sent back across the
border. He reported feeling confused but safe during his confinement.

After approximately two weeks at GEO, he was able to gain some clarity from his criminal
defense attorney as to the difference between the immigration and criminal proceedings. He had
no prior experience with the legal system in the US or back home, so could only make inferences
from his limited frame of reference. So far, he has appeared in court three times and reported
feeling supported by his attorney. In addition, he reported not remembering much of what was
discussed in the first meeting with his attorney and had a difficult time tracking the proceedings
of his first court appearance. He stated that it was likely that he would have made an uninformed




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and regrettable choice if he was forced to submit a plea during the first court hearing as he was
uninformed, emotionally impaired, and fearful of further confinement.

Defendant expressed significant confusion and frustration regarding the new criminal
proceedings, as he assumed he would be sent back home if caught crossing the border. He does
not perceive himself as a criminal, despite being treated and confined like one. The court
process was foreign to him. He reported insomnia due to the anxiety of not knowing what will
happen to him. He stated he was not emotionally prepared to be incarcerated. Since being
released from GEO, the defendant has been residing at a transitional residential placement that
offers more freedom and the opportunity to converse with his attorney.

Despite not having any prior legal experience or education, the defendant displayed a general
factual understanding of professional legal roles (judge, prosecution, defense), his criminal
charge, appropriate courtroom behavior, and the adversarial nature of the legal system. He did
not provide a clear understanding of the specific elements of his crime, the difference between a
felony and misdemeanor, possible penalties, implications for his immigration case, or knowledge
of other legal options. In addition, the defendant displayed an intact ability to establish effective
relationship with counsel. He displayed realistic expectations of his attorney, as well as effective
communication skills despite the language barriers, including maintained adequate attention,
appropriately shifting from listening to talking, and responding to redirection when necessary.

It appears that the increased opportunity to meet with counsel, more humane living conditions,
and segmented court hearings have allowed this defendant to more fully understand the
implications of his criminal and immigration cases and make more informed and nuanced
decisions. It is likely that if he would have been forced to plead in his first court appearance, he
would have made an uninformed and impulsive decision out of fear and significant confusion.

Interview with Defendant #2 on November 16, 2018:
The accuracy of the following information is necessarily limited by the veracity of the defendant’s self-report and
the linguistic confound. Details provided as relevant to the impact of the confinement and proceedings have on the
individual’s capacity to make a knowing, intelligent, and volitional plea.

Preliminary Mental Status Exam – older male of average stature. Dressed in street clothes,
appropriately dressed for the season. Adequate hygiene/grooming. Full and appropriate eye-
contact. Sensorium intact. Oriented to person, place, time, and situation.
Attention/concentration intact. Speech expression and reception in terms of volume, rate, tone,
prosody, and articulation. Consecutive translation service utilized. Reported mood of depressed
and hopeless congruent with his flat affect. Inferred from the discussion, defendant
demonstrated adequate cognitive functioning across the domains of memory, abstraction,
judgment, insight, and conceptualization. His estimated intelligence is in the average range
based on general fund of knowledge, vocabulary, and level of education.

Defendant reported living in Chicago with his family for more than twenty years, working as a
janitor. His daughter was born in the United States and received an education. Defendant
traveled to Mexico to assist the rest of his family, including his son. After approximately three
years of residing in Mexico, his son was murdered. Upon the threat of danger on his life, the
defendant attempted to cross the border again with the aid of an escort (“coyote”). During this



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process, he reported being kidnapped and exploited by the escort. Once he was able to cross the
border into Texas, the defendant testified against the escort for exchange of immigration
benefits. Somehow, he was then transferred to an immigration holding facility near San Diego,
CA.

The defendant spent one night in immigration holding, which he called the “ice box.” He
described it as a cold, crowded, concrete square with only an open toilet. There were no beds,
privacy, or decent food. He slept on the floor and did not know when he would be released.
Others detained at the same time were also scared and confused. He was then transferred to the
GEO federal jail for approximately one week, in which the conditions were much improved with
regulated temperature, conducive sleeping conditions, and showers/bathrooms. He was able to
meet with his defense counsel twice during the week. Yet, at GEO, he reported feeling very
scared as he was surrounded by “serious criminals.”

The defendant has had three court hearings as of the interview date, with one more scheduled in
about a month. The first hearing addressed “charges and bond,” the second for the “plea,” and
the third for “3rd party custody.” He expressed confusion as to why the bail was set so high
($500), and was very disappointed that he could not join his family in Chicago. He said there
were about 15 defendants during his plea hearing and all of them plead guilty and were deported,
he was the exception. He also stated that he was very satisfied and appreciative of his defense
attorney, as she has gone above and beyond in providing assistance.

The defendant expressed significant confusion as to his criminal charge, as he had never heard of
this criminal prosecution prior. He was confined with other serious criminals and did not
identify as a criminal and repeatedly asserted innocence with no previous criminal history. In
addition, he stated that he does not understand the difference between the criminal and
immigration process. He was also confused and angry that individuals from El Salvador,
Honduras, and Guatemala were granted asylum based on credible fear despite lying, while he is
telling the truth and he may be denied.

Regarding the defendant’s legal knowledge, he appeared to have a general understanding of
professional legal roles (judge, prosecution, defense), his criminal charge, appropriate courtroom
behavior, the adversarial nature of the legal system, the difference between a felony and
misdemeanor, possible penalties, implications for his immigration case, or knowledge of other
legal options. He also had a basic understanding of incrimination, perjury, and testimony. He
did not provide a clear understanding of the specific elements of his crime. In addition, the
defendant displayed an intact ability to establish effective relationship with counsel. He
displayed realistic expectations of his attorney, as well as effective communication skills despite
the language barriers, including maintained adequate attention, appropriately shifting from
listening to talking, and responding to redirection when necessary.

Similar to Defendant #1, it appears that the increased opportunity to meet with counsel, more
humane confinement conditions, and segmented court hearings have allowed this defendant to
more fully understand the implications of his criminal and immigration cases and make more
informed and nuanced decisions. It is likely that if he would have been forced to plead in his




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first court appearance, he would have made an uninformed and impulsive decision out of fear
and significant confusion.

Interview with Defendant #3 on November 16, 2018:
The accuracy of the following information is necessarily limited by the veracity of the defendant’s self-report and
the linguistic confound. Details provided as relevant to the impact of the confinement and proceedings have on the
individual’s capacity to make a knowing, intelligent, and volitional plea.

Preliminary Mental Status Exam – 29-year old male of average stature. Dressed in street clothes,
appropriately dressed for the season. Adequate hygiene/grooming. Sporadic eye-contact.
Sensorium intact. Oriented to person, place, time, and situation. Attention/concentration intact.
Speech expression and reception in terms of volume, rate, tone, prosody, and articulation.
Consecutive translation service utilized. Affect was flat. Responses were concrete and brief, but
he responded to further inquiry when needed. Inferred from the discussion, defendant
demonstrated adequate cognitive functioning across the domains of memory, abstraction,
judgment, insight, and conceptualization. His estimated intelligence is in the average to low-
average range based on general fund of knowledge, vocabulary, and level of education.

The defended reported living in the United States for approximately a decade, in California,
Idaho, and Montana. He alluded to a previous legal situation that involved a no-contact order
and a dismissed misdemeanor. Thus, he has had some prior legal reference. On the current
charge, he spent one night in immigration holding, which he called the “ice box,” approximately
two weeks in federal detention (“GEO”), and most recently two weeks in a transitional
community placement. He was able to meet with his attorney multiple times and reports a good
relationship with counsel. He has appeared in court three times, for “…the charge, a
continuance, and a request for evidence.” He stated he understood the proceedings and that he
was charged with a felony.

Results of preliminary inquiry into his legal understanding, the defendant demonstrated basic
knowledge of professional legal roles (judge, prosecution, defense), his criminal charge,
appropriate courtroom behavior, and the adversarial nature of the legal system. Despite prior
legal involvement, he did not provide an understanding of the difference between a felony and
misdemeanor, possible penalties, implications for his immigration case, incrimination, perjury,
the specific elements of the current alleged crime, or knowledge of other legal options. The
defendant displayed an intact ability to establish effective relationship with counsel. He
displayed realistic expectations of his attorney, as well as effective communication skills despite
the language barriers, including maintained adequate attention, appropriately shifting from
listening to talking, and responding to redirection when necessary.

Similar to prior defendants, it appears that the increased opportunity to meet with counsel, more
humane living conditions, and segmented court hearings have allowed this defendant to more
fully understand the implications of his criminal and immigration cases and make more informed
and nuanced decisions. Yet, despite prior reference to the United States legal system and
considerable consultation with his attorney, the defendant still appears to display a borderline
level of legal knowledge. This could be attributed to his general cognitive capacity, his
reluctance to disclose and discuss with the undersigned, or personality characteristics. It is
unclear if he would meet the knowing/intelligent/volitional standard currently, but it is likely that



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if he would have been forced to plead in his first court appearance, he would have made an
uninformed and impulsive decision out of fear and significant confusion.

Orientation with Ms. Kara Hartzler on November 15, 2018:

Ms. Hartzler provided a general introduction to Operation Streamline, as well as how the
implementation of Operation Streamline has changed, mostly due to the Defender’s multiple
challenges regarding due process and equal protection, since the summer.

The common sequence of events for an Operation Streamline defendant includes initial
detainment by Border Patrol officers in facilities originally meant for short-term, day-long
confinement. Confinement conditions, as repeatedly described by different defendants, include
cold temperatures (frequently termed “the ice box”), constant light, and minimum food of poor
quality, with no beds, private toilets or showers, nor access to medical services. The space is
described as a small concrete cell with detainees beyond the maximum capacity limit. After a
period of time in these confinement conditions, sometimes for multiple days, the defendant is
allowed an initial meeting, usually lasting about half-an-hour, with assigned counsel in the
parking garage of a governmental building. This make-shift facility is a grouping of tables and
chairs in a noisy parking garage, making attorney-client confidentiality challenging.

Due to these confinement conditions, defendants usually present as disoriented, fatigued,
alarmed, and confused. Counsel was often concerned about defendant’s cognitive functioning
due to sleep deprivation, hunger, and emotional dysregulation. Further, due to the extremity of
the confinement conditions, defendants were often much more concerned about further
detainment than the specifics of their charge or the implication of their plea. In this way, some
attorneys asserted that the confinement conditions themselves were coercive in nature.

The defendants were usually surprised with the notification that they are being charged with a
Federal crime, and confused as to the difference between the criminal and immigration court
proceedings. Often, the defendants were perplexed as to the role of the criminal defense
attorney. Considering the cognitive fatigue, emotional activation, and lack of information the
Operation Streamline defendants were experiencing during this initial meeting with counsel in
the garage, it is reasonable to assume that half-an-hour was just enough time for introductions
and a very general overview of their situation, let alone the specific implications for each
individual case.

After this brief meeting with counsel, defendants would attend an expedited court hearing which
combined multiple and distinct stages of the legal process into one time and appearance. These
proceedings would utilize a Spanish interpreter, or other dialects and languages as indicated by
counsel or evidenced by confused behavior in the courtroom. This single hearing combined the
initial appearance, arraignment, plea, and sentencing into one compressed 1-1.5 hour long
proceeding.

Not only are these Operation Streamline proceedings compressed and expedited, they also
process multiple cases at one time. These cases are all § 1325 5 misdemeanants that were

5
    8 U.S.C. § 1325(a).



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apprehended at the border in the same period of time. Reported defendant groups ranged from 5-
25, with an average of 15 defendants per proceeding. The assigned defense counsel was also
present, and depending on their assigned caseload, there might be 4-10 attorneys present to
represent the group of defendants. On average, more than 50 defendants would be processed in a
day using this compressed and expedited format. This compressed procedural structure persisted
from early July to mid-September in San Diego, CA.

Due to recent modifications to the original Operation Streamline process around mid-September
2018, there are no longer same-day plea hearings immediately after detainment at Border Patrol
stations. Procedural changes by the court include the offering of bail and temporary release to a
3rd party custodian. In some cases, the Defender’s office was able to procure external monetary
assistance for bail and local temporary housing options for defendants awaiting proceedings.
The result is a process that occurs typically over 4-5 days from initial contact with counsel to
conclusory plea and sentencing. In this revised rendition of the Operation Streamline
proceedings, the defendant is still detained in Border Patrol stations, provided a brief meeting
with assigned counsel, then makes an initial appearance in court for arraignment. Afterwards,
most defendants remain in custody in the federal jail or released on bail to a 3rd party custodian
and housed at a local transitional community placement. This extended process, relative to the
same-day proceedings, provide multiple and more meaningful meetings with counsel which
result in a more established factual and rational understanding of the legal process, as well as
time to consider the implications of legal decisions. In addition, the respite from the initial
aforementioned confinement conditions to those of either the federal jail or transitional
placement, provided the defendants increased cognitive functioning and emotional stability.

Interview with multiple defense attorneys from the Federal Defenders office on November 15,
2018:

A group interview was conducted with seven attorneys from the Federal Defenders office. Most
were trial attorneys, but some were appellate attorneys. All accounts confirmed the prior account
by Ms. Hartzler.

The consensus of the attorneys interviewed was that the current modified court process, resulting
in 3-4 additional days in which the defendants are detained in county jail or a local halfway
house, increased the individual defendant’s capacity for a knowing, intelligent, and voluntary
plea. Then attorneys reported that the conditions of the county jail or halfway house were more
beneficial for their clients, implying that the conditions and length of confinement of the Border
Patrol holding cells resulted in a quality of desperation and disorientation. Some defense
attorneys suggested that the detainment conditions were in themselves, coercive, as most
defendants were most concerned with avoiding detainment.

Other attorneys reported the general difficulties in the defendant/counsel relationship, including
communication, level of education, language, and emotional interference. The majority of
defendants have never been involved in the legal system before and have no frame of reference
with the legal system of the United States. Most defendants have less formal education, thus a
limited vocabulary and language skills. Along with the highly emotional nature of their
situation, these factors result in a defendant that is usually confused, emotionally dysregulated,




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and desperate. Often, the defendants simply ask counsel to tell them what to do instead of
having the capacity to make a reasoned and educated choice themselves. While counsel is, at
times, reduced to drawing pictures in order for defendants to understand the legal process in a
short period of time.

Defense attorneys reported making every effort to oppose possible constitutional violations due
to confinement conditions and the compressed and expedited procedural structure. Common
challenges counsel would routinely assert would be equal protections under the law and the lack
of a knowing/intelligent/voluntary defendant.

Specific difficulty was reported regarding the plea colloquy, during which time the judge is
interacting with the defendant to ascertain the knowing/intelligent/voluntary standard prior to
accepting the plea. Often, the defendants will appear disoriented, confused, or even asleep.
These obvious visual signs provoke the court to begin a line of questioning, at times questioning
the defense counsel as well. Common questions during colloquy include “Do you understand?”
and “Did you sleep, were you fed?” After repeated questioning, defense counsel will often
request that the court re-word the question or try different questions that are more customized for
the individual or situation. While a few judges try, most were reported to refuse to deviate from
the standard questions. In addition, the court often asked defense counsel if this plea is made
knowing/intelligent/voluntary, connoting that the onus of ascertaining this standard is solely on
defense counsel versus a responsibility of the court as a whole. It appears as if the judge is
attempting to expedite the process while also avoiding possible grounds for appeal.

Relevant Literature Review
Based on the procedural findings reflected above, areas of relevant psychological knowledge were identified as
possible impactful factors in considering the legal question. This does not exclude other relevant psychological
knowledge from being applied, just that these were the most applicable to the available data set at the time.

Considering the findings of the observations and interviews, two main areas of concern became
apparent when assessing if Operation Streamline defendants meet the legal criteria
(knowing/intelligent/voluntary) in Southern California at the time of this report – confinement
conditions and the structure of the court proceedings. Areas of psychological research relevant
to confinement conditions include those specific to immigration and sleep deprivation. Those
relevant to the structure of court proceedings include response set, diffusion of responsibility,
and speech reception. The following is a general review of the literature regarding these factors
impacting the aforementioned legal criteria.

In 2005, Operation Streamline began with a zero-tolerance approach which permitted the Border
Patrol to refer 100 percent of apprehended migrants for prosecution. 6 Over time, the process of
Operation Streamline has been expanded throughout the U.S.-Mexico border. Most Operation
Streamline defendants are migrants from Mexico or Central America, have no prior criminal
convictions, and ultimately attempted to cross the U.S.-Mexico border to be with family or to
search for work in the United States. Under Operation Streamline, migrants who cross the border
for the first time are prosecuted for misdemeanor illegal entry and any migrant who has been

6
 Joanna Jacobbi Lydgate, Assembly-Line Justice: A Review of Operation Streamline, 98 Calif. Law Rev. 481
(2010).



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deported in the past and attempts to reenter can be charged with felony reentry. With the influx
of Streamline prosecutions, defendants appear in court in large groups called en masse
proceedings. The way in which these court proceedings are conducted and the state in which the
defendants arrive to court allows for many problematic factors to arise.

Furthermore, the court system is overworked and continuously strained by the influx of
Streamline prosecutions. The strain placed on the court system by Operation Streamline often
prevents defendants from receiving their full constitutional rights. For instance, criminal defense
attorneys have less time with each defendant, which decreases the chances that these attorneys
will uncover potential issues or defenses. Moreover, en masse proceedings prevent the courts
from being able to ask defendants questions individually. Thus, the en masse proceedings of
Operation Streamline prevent the courts from assuring that each defendant’s response is knowing
and voluntary. As the Supreme Court stated in Stanley v. Illinois, 7 “The Constitution recognizes
higher values than speed and efficiency.” 8 Therefore, to assure that Operation Streamline
defendants are receiving their full constitutional rights, major changes to the current system must
be implemented. A system that completely protects the rights of immigrant criminal defendants
comports with justice, as well as humanitarian principles. 9

Detainment Conditions/Deportation
After detainment, inmates undergo an adaptation process, which can influence them on a
cognitive level, including concentration and attention problems, short-term memory troubles and
mental rumination. 10 Moreover, during this adaptation process inmates can also be impacted on
an emotional and somatic level, including anxiety, sadness, affective retreat and aggressiveness,
as well as headaches and insomnia. 11 Detainment is a forced situation in which individuals are in
a state of submission and stigmatization, these individuals lose the social frame of reference they
previously had in the outside world. 12 Thus, being detained encourages acute states of stress,
insomnia, permanent traumatic reactivation, and acute psychotic states. 13
Lengthy detention is a systemic practice that affects nearly all sectors along the southwest
border. 14 In addition to long detention periods, the U.S. Commission on Civil Rights 15 also found
a lack of compliance with medical standards, including failing to administer proper medical
protocols, delaying transfer to a hospital setting, overmedicating detainees, and ignoring serious
medical conditions. Moreover, detained immigrant youth are often traumatized but do not
receive adequate mental health care. 16


7
  405 U.S. 645 (1972).
8
  Edith Nazarian, Crossing Over: Assessing Operation Streamline and the Rights of Immigrant Criminal Defendants
at the Border, 57 Loyola Law Review 1399 (2011).
9
  Id.
10
   A. -C Carvalho, B. Lecat & S. Sendas, Detention Conditions’ Impact on Anxiety and Depression Levels of
Prisoners, 66 Eur Rev Appl Psychol 155 (2016).
11
   Id.
12
   Id.
13
   Id.
14
   Jamie Longazel, Jake Berman & Benjamin Fleury-Steiner, The Pains of Immigrant Imprisonment, 10 Sociology
Compass 989 (2016).
15
   United States Commission on Civil Rights, The State of Civil Rights at Immigration Detention Facilities
(Washington DC: Statutory Enforcement Report,[2015]).
16
   See Longazel, supra note 9.



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Additionally, detainees are often moved from one facility to another, in which important legal
paperwork commonly disappears and families lose track of their loved ones. This research
highlights a contradiction of immigration law and policy, in which undocumented immigrants
are in a position where they are accountable to the law but also excluded from legal rights and
protections. 17 These systems reinforce racial hierarchies and further criminalize marginality by
directing resources toward confinement and away from social programs. 18 Violations of
migrant’s rights within immigration detention facilities vary from verbal and physical abuse to
failure to return personal belongings or inform migrants of their rights. 19 For example, two
reports were issued by the Arizona humanitarian aid organization No More Deaths, which
documented more than 30,000 incidents of human rights abuses against undocumented
immigrants in short-term detention. 20

In one study, it was found that people who experienced both prison and immigration detention
often reported that immigration detention was worse, due to the uncertainty surrounding their
release date, the inability to purchase food from the commissary, and the lack of programming. 21
The impact of criminal stigma follows these individuals after they are deported, where many face
stigma due to the association between deportation and criminality. 22 According to the Center for
Migration Studies, there were 3.3 million mixed-immigration-status households in the U.S. in
2014. 23 Thus, deportation resulting from Operation Streamline has significant costs for families
due to forced family separation, including housing instability, economic hardship, mental and
emotional health challenges, and reduced school performance. 24

Sleep Deprivation
Sleep deprivation typically results in various difficulties for the individual, such as poorer
cognitive functioning, including alterations in perception, attention, memory, executive
functions, and affective processing. 25 The findings of their study showed that sleep loss resulted
in reduced alertness, which is necessary to achieve and maintain a state of high sensitivity to
incoming stimuli. The authors also found that sleep loss influenced attentional orienting, which
is needed to select information from sensory input by allocating attentional focus to a potentially
relevant area or object in the visual field. 26




17
   See Longazel, supra note 9.
18
   See Longazel, supra note 9.
19
   Catalina Amuedo-Dorantes & Susan Pozo, On the Intended and Unintended Consequences of Enhanced U.S.
Border and Interior Immigration Enforcement: Evidence from Mexican Deportees, 51 Demography 2255 (2014).
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   Id.
21
   Caitlin Patler & Tanya Golash-Boza, The Fiscal and Human Costs of Immigrant Detention and Deportation in the
United States, 11 Sociology Compass n/a (2017).
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   Id.
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   Caitlin Patler & Tanya Golash-Boza, The Fiscal and Human Costs of Immigrant Detention and Deportation in the
United States, 11 Sociology Compass n/a (2017).
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   Id.
25
   Javier Roca et al., The Effects of Sleep Deprivation on the Attentional Functions and Vigilance, 140 Acta Psychol
(Amst) 164 (2012).
26
   Id.



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In 2000, a review was conducted which analyzes individuals in the real world who are
confronted with prolonged working hours without sleep. 27 The authors argue that divergent skills
are particularly affected by sleep deprivation. For instance, sleep deprived participants are less
discriminating in handling ambiguous material, less confident, more open to leading remarks,
and more willing to modify recollections of a witnessed event. 28 An individual’s ability to
communicate effectively after sleep deprivation is likely to be negatively influenced by
alterations in language processing. 29 Thus, it was observed that qualitative differences in speech
articulation after just one night of sleep deprivation occurred. Moreover, sleep deprivation
interrupts the vital processes involved in decision making in terms of constructive processing. 30
Therefore, resulting in a lack of focused attention and difficulty in ignoring nonrelevant stimuli
which negatively impacts the sleep deprived individual’s ability to effectively make decisions.

A meta-analysis was conducted in order to explore the effects of short-term sleep deprivation on
both speed and accuracy measures in various cognitive categories, such as simple attention,
reasoning, short-term memory, and processing speed. 31 The authors argued that vigilance and
sustained attention are fundamentally important to many higher aspects of cognition and that
these higher processes will decline if an individual is not able to sustain a sufficient level of
vigilance while performing a task. Through their meta-analysis they indicated that short-term
total sleep deprivation has a significant detrimental effect across most cognitive domains. More
specifically, the authors concluded that tests of working memory and executive attention are
strongly affected by one night of sleep deprivation. Lastly, it was indicated that simple attention
is the cognitive domain most robustly affected by short-term sleep deprivation. 32

The effects of sleep deprivation on prospective memory have been explored, which is
remembering to execute intended actions in the future. 33 It was found that sleep deprivation
impacts cognition globally and that sleep deprivation increases prospective memory failures. 34
An alternative view was offered suggesting that decreased performance after sleep deprivation is
caused by variability in arousal and attention. 35 Arousal is necessary for a wide range of
cognitive tasks, and thus, sleep deprivation has a more global, unspecific effect on cognition. 36
Therefore, the performance of individuals who are sleep deprived will likely decrease the longer
they are awake due to problems of staying alert after sleep loss. 37



27
   Yvonne Harrison & James A. Horne, The Impact of Sleep Deprivation on Decision Making: A Review, 6 Journal
of Experimental Psychology: Applied 236 (2000).
28
   Mark Blagrove, The Effects of Length of Sleep Deprivation on Interrogative Suggestibility, 2 Journal of
Experimental Psychology: Applied 48 (1996).
29
   See Harrison, supra note 25.
30
   See Harrison, supra note 25.
31
   Julian Lim & David F. Dinges, A Meta-Analysis of the Impact of Short-Term Sleep Deprivation on Cognitive
Variables, 136 Psychological Bulletin 375 (2010).
32
   See Lim, supra note 29.
33
   Tobias Grundgeiger, Ute J. Bayen & Sebastian S. Horn, Effects of Sleep Deprivation on Prospective Memory, 22
Memory 679 (2014).
34
   Id.
35
   Id.
36
   Id.
37
   Id.



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Diffusion of Responsibility
Studies of group behavior and decision making reveal that because each group member knows
that responsibility for the previous decision is shared among several people, they should each
experience fewer feelings of personal responsibility than if they had made the decision alone. 38
Individual behavior is often altered in social contexts, this has been observed in social
psychology for quite some time. Diffusion of responsibility is the idea that the presence of others
alters the behavior of the individual by causing them to feel less responsible for their actions and
the resultant consequences. 39

The cognitive and neural consequences of diffusion of responsibility were investigated by
creating a task where participants either played alone or together with another agent who could
act instead of them. 40 The feeling that one can control external events through one’s own actions
refers to a sense of agency. 41 It was found that participants acted later and rated their feeling of
control over action outcomes as lower when paired with another agent, compared to trials where
they acted alone. 42 Therefore, it was found that sense of agency and behavioral decisions are
continuously updated by social context information. 43 These findings support the idea that
negative consequences of an individual’s actions are less relevant in a group than in an
individual context.44 And thus, social context may minimize the experience that actions are
connected to their consequences. 45

Response Set
The idea of response set was discussed within the context of responding to questionnaires. 46
They suggest that answering questions about attitudes involves five stages: interpretation and
determining the appropriate attitude; retrieval of the appropriate beliefs and feelings; applying
the beliefs and the feelings to the applicable judgement; mapping the answer onto the response
format; and editing the answer for social desirability. 47 A model was proposed which indicates
that there are two major stages invoked when responding to questionnaires, the Impression stage
and the Expression Response stage. 48 The Impression stage includes information retrieval from
various resources, such as values and beliefs or previous experience in order to form an
impression. After the information has been retrieved the Expression stage begins where decision
making and answer editing occur, which will ultimately be expressed as the actual answers.


38
   Glen Whyte, Diffusion of Responsibility: Effects on the Escalation Tendency, 76 J. Appl. Psychol. 408 (1991).
39
   Albert Bandura, Social Cognitive Theory of Self-Regulation, 50 Organizational Behavior and Human Decision
Processes 248 (1991).
40
   Frederike Beyer et al., Beyond Self-Serving Bias: Diffusion of Responsibility Reduces Sense of Agency and
Outcome Monitoring, 12 Soc Cogn Affect Neurosci 138 (2017).
41
   Id.
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   Id.
43
   Id.
44
   Albert Bandura, Moral Disengagement in the Perpetration of Inhumanities, 3 Personality and Social Psychology
Review 193 (1999).
45
   See Beyer, supra note 38.
46
   Boaz Shulruf, John Hattie & Robyn Dixon, Factors Affecting Responses to Likert Type Questionnaires:
Introduction of the ImpExp, a New Comprehensive Model, 11 Social Psychology of Education 59 (2008).
47
   Id.
48
   Id.



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Response sets were identified by Lee J. Cronbach as “any tendency causing a person to
consistently give a different response to test items than he would when the same content is
presented in a different form.” 49 He also discussed two types of response set, including
acquiescence, or the tendency toward agreement or disagreement, and overgeneralization. 50 It
was Allen Edwards that related response sets to social desirability and social norms, such as the
tendency to endorse socially desirable or socially undesirable statements about oneself. 51
Individuals are embedded in a cultural context, and thus, the individual may be more attuned to a
collectivist or individualist disposition.52 Further, there is accruing evidence that cultural
attributes such as collectivism and individualism can affect responses to questionnaire. Under a
socioanalytic view, faking one’s response is indicative of social skills because an individual must
know the standards of their group and they must be aware of the reputation they hold in their
social group, as well as how to represent themselves in order to maintain it. 53 Thus, individuals
seek to portray themselves in a manner consistent with their reputation.

Prosody/Rate of Speech/Listening Effort/Social Perception
The tonal quality of speech, also known as prosody, can modify the meaning of utterances. More
specifically, affective prosody refers to the affective connotation attributed to a word or a
sentence during speech. 54 This is also called the “the tone of voice”, which includes cues such as
intensity, intonation, and timing that communicate stress, emotional reaction, or state of the
speaker. 55 Comprehension of information expressed by the tone of voice is highly important for
successful social interactions. 56 Data was collected from groups of adults in order to explore
emotional prosody effects on information processing and verbal memory. 57 Through their review
of the literature, the authors discuss how affective information is generally processed and
remembered better than neutral information in adults. 56

Groups of adults were examined when listening to extended discourse (10 to 15 minute lectures)
speeded to a rate near the limit of normally encountered fast speech. 58 After listening to the
lecture, the authors tested the listener’s comprehension and memory regarding the details
discussed in the lecture, their ability to integrate the information and draw appropriate
inferences. It was found that both groups of adults had more difficulty recalling the details of the
discourse and integrating their contexts when stimuli were presented at faster rates and in higher
levels of background noise. 59


49
   Lee J. Cronbach, Response Sets and Test Validity, 6 Educational and Psychological Measurement 475 (1946).
50
   Id.
51
   Allen L. Edwards, The Social Desirability in Personality Assessment and Research (2nd ed. ed. 1957).
52
   See Shulruf, supra note 44.
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   7. Philippe Bou Malham & Gerard Saucier, The Conceptual Link between Social Desirability and Cultural
       Normativity, 51 International Journal of Psychology 474 (2016).
54
   Beth Fairfield et al., Emotional Prosody Effects on Verbal Memory in Older and Younger Adults, 24
Neuropsychol Dev Cogn B Aging Neuropsychol Cogn 408 (2017).
55
   Id.
56
   Dirk Wildgruber et al., A Cerebral Network Model of Speech Prosody Comprehension, 11 Int J Speech Lang
Pathol 277 (2009).
57
   See Fairfield, supra note 52.
56
   See Fairfield, supra note 52.
58
   See Fairfield, supra note 52.
59
   Id.



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Listening effort can be described as the cognitive resources necessary to understand speech. 60
The authors offer the model of Ease of Language Understanding, which provides a conceptual
framework for listening effort. This model states that understanding language involves both
implicit and explicit processing. Therefore, listeners automatically and quickly bind language
segments and compare them to long-term memory stores. During this process, speech
recognition will be reached with minimal effort when there is an easy match between language
input and long-term memory. Although, when there is a mismatch and a signal is degraded, a
listener must rely on explicit processing and other cognitive resources in order to understand
speech. Thus, listening effort is increased when speech signals are degraded. 61

The cognitive abilities necessary for social perception have been investigated. 62 The human
ability to infer mental states of others involves cognitive and perceptual processes, which can be
implicit and explicit. Implicit processes involve the decoding of socially pertinent information
transmitted through facial expression, voice, and body motion. 63 The explicit processes involve
cognitive skills such as higher-order reasoning and language. The authors’ results show that
social-perceptual and cognitive processes involved in the representation of socially pertinent
information are important predictors of individual differences in the ability to infer emotional
and mental states of others from noticeable cues, including faces, eyes, spoken language and
prosody. 64

The role of attention is important in auditory scene analysis. 65 Auditory scene analysis is a
primary skill of the auditory system that permits us to identify and perceive sound events in the
environment. Perceptual ambiguity can arise when there are overlapping sound sources. The
auditory system resolves perceptual ambiguity by allowing attended input to dominate over
unattended input, in that attended information is enhanced and unattended information is
suppressed. 66 Moreover, information about the auditory scene is not lost when selecting a subset
of information, and thus, the capacity to retrieve information is permitted by this flexibility. For
instance, when we do not originally hear what we wanted to listen to and had to retrieve from
memory the trace of the original source. This ability allows for flexible and quick attention
switching, which is necessary in noisy environments in order to facilitate the ability to listen to
various sound events in the environment. 67 For example, at a cocktail party one may know that
there are other speakers in the background, with the pitch of the voices signifying male and
female, but not being able to perceive the content of any unattended speech stream among
background speakers. Thus, the level of processing which occurs passively segregates the sounds
to sources, but the processing is limited by attentional resources required to make meaning of the
various events. 68

60
   Erin M. Picou, Lauren M. Charles & Todd A. Ricketts, Child–adult Differences in using Dual-Task Paradigms to
Measure Listening Effort, 26 Am. J. Audiol. 143 (2017).
61
   Id.
62
   Bozana Meinhardt-Injac et al., The Two-Systems Account of Theory of Mind: Testing the Links to Social-
Perceptual and Cognitive Abilities, 12 Front Hum Neurosci (2018).
63
   Id.
64
   See Meinhardt-Injac, supra note 61.
65
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66
   Id.
67
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68
   Id.



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Opinion
The following section is a synthesis of the procedures, findings, and relevant psychological research, along with the
experience and clinical expertise of the undersigned.

Two main areas of consideration are provided here to address the referral question regarding the
capacity for defendants in the current Operation Streamline proceeding to meet the legal criteria
for knowing/intelligent/voluntary standard – confinement conditions and the structure of court
proceedings.

As demonstrated from the brief literature above, confinement conditions and related sleep
deprivation have a clear and undeniable negative impact on the cognitive, emotional, and
physical capacities of an individual. These include decreased and impaired sensory perception,
attention/concentration, mental rumination, prospective and short-term memory, information-
processing, headaches and insomnia, suggestibility, lack of critical thought, speech articulation,
and processing speed. Further, the psychological impacts of confinement can lead to acute stress
reactions, clinical levels of trauma, and possibility acute psychosis. All of these factors can
directly impact and impair a defendant’s ability to provide a knowing/intelligent/voluntary plea
during an Operation Streamline proceeding.

This research has a direct implication and application to the defendants described, observed, and
interviewed during this project. Observations included signs and symptoms synonymous with
those described in the available literature. Specifically, conditions of the immigration holding
facilities appear to have the most profound impact on defendants and there was a marked
difference between the observed condition of defendants whom had just been transferred from
the immigration facilities versus those from the federal detention centers. This does not negate
the impact that general detainment also has on individuals as demonstrated in the research above.

Regarding the structure of legal proceedings, it is important to note that a main feature of
Operation Streamline is to prosecute as many defendants as possible in the least amount of time.
Thus, the original expedited and condensed hearings with multiple defendants at once. The
current segmented proceedings that are tentatively in place are due to the efforts of the Defenders
Association and community resources, reflecting a more common course and pace of legal
proceedings, and affording the defendants to recover from immigration holding confinement and
consult with counsel. The observations and interviews conducted were done under the current
and tenuous segmented process. The impact of the expedited and condensed design can only be
inferred.

One of the distinguishing features that characterizes Operation Streamline proceedings is
multiple defendants in a condensed, abbreviated hearing format as observed and reported by
multiple sources in the available data above. The established field of Social Psychology has long
established a foundational concept of diffusion of responsibility. This concept, briefly described
above, highlights a major difference when an individual is acting alone or as a group. Namely,
individuals within a group context are much more likely to suspend critical thinking or a sense of
individual responsibility, deferring to the consensus or dominance of the group itself. In an
Operation Streamline context, while each of the defendant’s cases are supposedly handled
individually but at the same time, the result appears to be one of group process and dominance.



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Specific examples being in the inquiry/response cycle of the proceedings observed, in which the
judge asks various short, concrete, and close-ended questions directed at the first defendant.
Then simply follows up with the name of the subsequent defendants, prompting an answer to the
original question. Considering the average number of defendants are approximately 15-20, and
applying the concept of responsibility diffusion, the individual defendants are more likely to
answer in line with the rest of the group. In the observed proceedings, all defendants answered
in the exact same manner, responding “yes,” to questions such as “Mr. X, do you understand?”
or “Mr. X, how to you plead?”

A related psychological concept is that of response set, in which individuals are more likely to
respond in the same way to a series of related questions. Further, social desirability and
conformity magnetize the individual’s responses either in the affirmative or negative. Applying
this concept to the aforementioned dynamic of inquiry during the observed proceedings, all
defendants answered in the affirmative, repeatedly. Here again, the impact of combining
individual legal cases into one proceeding appears to undermine the individual’s critical thought,
unique considerations, and volitional action. Further, the multiple defendant structure can trigger
the dynamics established in responsibility diffusion and response set that could interfere with the
defendant’s capacity for a knowing, intelligent, and voluntary plea. Furthermore, it can be
inferred that if expedited and condensed proceedings recommence, along with direct transfer
from immigration holding facilities, these psychological forces will become exponentially more
derogating to the defendant’s capacities during the legal process. These capacities include both
the Dusky68 prongs and the knowing, intelligent, and voluntary criteria.

Also identified in courtroom observations was the flat and monotone speech of the judge using
an almost scripted narrative during the proceedings. Simultaneous translation was also utilized
and all defendants observed use the headsets during the proceedings. The available literature
indicates that language lacking natural prosody, as well as noise interference, can interfere with
an individual’s ability to attend, track, and comprehend the content and meaning. While this
factor in and of itself does not necessarily sabotage legal competency, in combination with the
factors of confinement conditions and multiple defendant format, these issues of speech and
noise appear to be a compounding and interfering concern.

The undersigned has completed over 1000 forensic evaluations, with many calling for expert
testimony in contested hearings, or bench and jury trials. The Operation Streamline proceedings
contain many aspects that have never been witnessed by the undersigned. These aspects include
the condensed and expedited hearing structure, the multiple defendant format, misdemeanants in
restraints, defendants disoriented and distracted due to other than a psychiatric condition, the
disregard for the unique and distinct aspects of each case, or the lack of effort and diligence in
the court colloquy regarding the defendant’s understanding. Each of these defendants come from
differing geographic locations, with unique reasons for seeking citizenship or asylum, and
individual characteristics and resources. Thus, the implications of this charge, albeit the same
charge across defendants, have very different consequences for each individual defendant. Thus,
no two cases are the same and demand the specific attention of the court. While the more
segmented hearings with more time to consult with counsel are mitigating steps to ensure the

68
     Dusky v. United States, 362 U.S. 402 (1960)



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legal capacities of the defendants, it in no way rectifies the problem inherent in the policies of
Operation Streamline.

This report is complete upon submission of the document as of January 28, 2019.




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                                           Appendix B
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 Education

 PsyD Antioch University Seattle; Forensic & Neuropsychology             September 2010
      Dissertation: The Paradox of Multicultural Training

 MA     Antioch University Seattle; Couple & Family Therapy              September 1998

 BA     The Evergreen State College; Violence & Addiction Studies              July 1996

 Academic Experience

 Antioch University, Seattle, WA                                 September 2015 - Present
 Program Chair, Doctorate in Clinical Psychology
    • Achieved American Psychological Association accreditation in 2017 for a 5-year term
    • Budgetary, staffing, admissions, and disciplinary oversight
    • Revised program policies, curriculum, and faculty staffing to meet accreditation
       standards
    • Supervision of faculty, staff, fellows, and graduate assistances
    • Ensure on-going compliance with accreditation standards

 Antioch University, Seattle, WA                                   September 2012 - Present
 Core Faculty, Doctorate in Clinical Psychology
    • Design and implement courses in social justice, cultural competency, psychological
       assessment, and qualitative research methods
    • Provide clinical supervision to doctoral students
    • Academic advising and professional mentorship
    • Chair dissertations specializing in Grounded Theory research methodology, cultural
       competency, forensic psychology, and virtual avatar identity development
    • Serve as Chair of Institutional Academic Council to ensure academic rigor
    • Serve on the Institutional Review Board reviewing research proposals
    • Organize and facilitate the first institutional Social Privilege faculty group

 University of Washington, Seattle, WA                              March 2012 - Present
 Clinical Faculty, School of Psychiatry
    • Serve on the post-doctoral Forensic Fellowship Committee at Western State Hospital
    • Provide didactic trainings to Western State Hospital clinicians and University of
        Washington graduate students




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   •   Supervise psychiatry residents in forensic assessment with an emphasis on cultural
       competency
   •   Participate in the University of Washington Faculty of Color advocacy and research
       project

Highline Community College, Des Moines, WA                   August 1998 – June 2006
Adjunct Faculty, Department of Psychology
   • Design and implement curriculum or original classes in family violence, assessment &
       advocacy, adolescent development, and human sexuality.

Professional Experience

Washington State Office of Forensic Mental Health              February 2011 - Present
Forensic Evaluator, Western State Hospital
   • Conduct pre-trial criminal evaluations including competency to stand trial, insanity at the
      time of the crime, and diminished capacity
   • Conduct comprehensive risk assessments regarding violence and recidivism
   • Conduct civil commitment evaluations from forensic and civil units
   • Consult with the Western State Hospital Risk Review Board and the Washington State
      Public Safety Review Panel
   • Serve on the Western State Hospital psychology internship committee
   • Provide consultation on issues of cultural competency in forensic evaluations

Washington State Department of Corrections                    April 2010 – February 2011
Psychology Associate, McNeil Island; Shelton Intake; DOC Headquarters
   • Conduct psychological assessments regarding violence and recidivism risk, cognitive
      functioning, vocational rehabilitation, psychiatric diagnosis, and educational placement
   • Crisis assessment and intervention services in the Suicide Observation Unit and the
      Intensive Management Unit
   • Provide on-going training to clinical, classification, and custody staff regarding suicide
      and serious mental illness
   • Consult with institutional administration regarding psychological services
   • Provide specialized consultation to the Department of Corrections Executive Leadership
      Team regarding cultural competency in organizational policy and practice
   • Innovate, revise, and implement a systemic policy change regarding integrated behavioral
      health across the department
   • Provide Defensive Tactic training to medical staff

The Family Project, Olympia, WA                              May 1998 – June 2009
Co-Founder & Co-Director, C.I.E.L.O.
   • Co-founded a non-profit agency that provides comprehensive, culturally competent
      family therapy under state and federal contracts
   • Develop and monitor budget for board approval
   • Contract and insurance acquisitions
   • Design and maintain billing and payment systems



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   •   Ensure on-going contract compliance
   •   Manage clinical and administrative staff
   •   Continuous relationship to governing board, agency affiliates, and external stakeholders

North Thurston School District                                  May 2001 – March 2008
Mediation & Anger Management Specialist, Timberline High School
   • Design model of mediation and therapy services embedded in public high schools
   • Provide mediation services to supplement administrative discipline
   • Provide emotional regulation focused therapeutic services to students and staff
   • Develop educational workshops for staff and administration
   • Assist in district policy regarding harassment, intimidation, and bullying
   • Provide on-going consultation to staff and administration
St. Martins University, Lacey, WA                                July 2006 – June 2009
Mental Health Therapist, Counseling & Wellness Center
    • Provide assessment and therapeutic services to students and their families
    • Serve on the Students of Concern committee
    • Serve as advisor to student organizations
    • Provide consultation to faculty and staff
Hoy & Nickle Associates, Olympia, WA                              May 1998 – June 2002
Sex Offender Treatment Provider
   • Provide therapeutic services for adjudicated sex offenders in Thurston County
   • Strong collaboration with probation officers, the courts, and peripheral therapy providers
   • Receive supervision and consultation in sex offender treatment modalities
Jade Counseling Center, Olympia, WA                           May 1997 – March 2002
Domestic Violence Perpetrator Treatment Provider
   • Co-facilitated a treatment program for domestic violence perpetrators focused on
      ensuring victim safety
   • Collaboration with Victims’ Advocates, probation officers, and court officials
Clinical Training & Internships

Washington State Department of Corrections                        June 2009 – April 2010
Supervisor – Deborah Wentworth, Ph.D.
   • Trained in a wide variety of personality, forensic, and neuropsychological assessment
       measures
   • Individual and group psychotherapy
   • Participation in routine supervision and professional training
   • Collaborative member of medical and correctional multidisciplinary teams
   • Rotations in the outpatient mental health, acute mental health, medical ward units, and
       correctional administration

Outpatient Neuropsychology Services, Olympia, WA                  May 2008 – June 2009
Supervisor – Laura Dahmer-White, Ph.D.



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   •   Participation in full assessment process including initial interview, collateral consultation,
       assessment battery administration, report writing, and feedback session
   •   Trained in neuropsychology assessment measures and practices
   •   Attended ongoing didactic training in neuropsychology theory and innovation

Comprehensive Parenting Evaluations, Olympia, WA             May 2008 – June 2009
Supervisor – Griselda Perretz-Rosales, Ph.D.
   • Research, development, and implementation of a comprehensive parenting assessment
       protocol under supervision
   • Contract negotiations with the Washington State Department of Social & Health Services

First Place Therapeutic Child Center, Tacoma, WA                    May 1997 - 1999
Pediatric Mental Health Therapy Intern
   • Provided play therapy to children 2-7
   • Parent education using one-way mirror and bug-in-ear technology
   • Consultant to center director on program curriculum and design
   • Facilitated staff education presentations and workshops
   • Specialized supervision from Elaina Gil and Toni Cavanaugh-Johnson
Family & Child Guidance Center, Tacoma, WA                        June 1996 – July 1998
Therapy Intern
   • Attachment assessments for Department of Child & Family Services
   • Therapist in specialized program for intercity adolescents involved in gangs (G.R.I.P.S.)
   • Individual, couple, and family therapy with a wide array of clientele
   • Weekly didactic sessions
   • Co-facilitated parenting groups
   • Designed and implemented after school family nights with child and parent education
      components
   • Supervision and consultation
The Evergreen State College, Olympia, WA                         May 1995 – June 1996
Therapy Intern, Counseling & Wellness Center
   • Individual and couple therapy for college students and their families
   • Weekly didactic sessions
   • Weekly consultation and supervision
Honors and Awards

Diversity Scholarship Award
National Counsel of Schools of Professional Psychology                                  2018

Distinguished Alumni of the Year Award
Antioch University Seattle                                                              2018

Minority Research Fellowship
American Psychological Association, Division 45                                         2010



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   •    One of nine national fellows tasked with presenting research on minority health
        disparities, mental health parity, health care reform, and the role of psychology in public
        policy
   •    Advocacy at a state and federal level
   •    Pipeline relationship with national and federal funding agencies such as the National
        Institute for Health, The Robert Woods, and William T. Grant Foundations

Research & Teaching Fellowship
Antioch University Seattle                                                          2007
   • Assistant in graduate-level classes that include intelligence assessment, neuropsychology,
      and quantitative methods
   • Assist in program alignment with the American Psychological Association accreditation
      committee
   • Conduct research on the use of electronic portfolios to ensure professional competencies
      in a graduate program

Publications

Bergkamp, J. & Agassiz, K. (2018). Cultural competency in forensic practice: Bridging the
      Divide. The American Psychology & Law Society Expert Opinion, Quarterly Newsletter.
      (http://apls.wildapricot.org/resources/EmailTemplates/2018_09%20September%20AP-
      LS%20Newsletter/ExpertOpinion9_18.pdf).

Bergkamp, J. & Ermann, K. (In Press). Biracial and multiracial individuals. In
      the Wiley Encyclopedia of Personality and Individual Difference, Volume IV: Clinical,
      Applied, and Cross-Cultural Research. Wiley-Blackwell Publishing.

Bergkamp, J. & Ponsford, M. (In Press). Cultural encapsulation. In the Wiley
       Encyclopedia of Personality and Individual Difference, Volume IV: Clinical, Applied,
      and Cross-Cultural Research. Wiley-Blackwell Publishing.

Media

Bergkamp, J. (Contributor). (2018, July). Race in America: Facing the divide [Video file].
      From https://www.apa.org/education/undergrad/diversity/default.aspx.

Doctoral Dissertations

McNichols, C. (2015). Can a culturally adapted form of CCI treatment model be effective in
     treating Aboriginal families affected by trauma?: A participatory action project.

Armstrong, V. (2016). Black & white multiracial adult women’s experience of their physical
      appearance: A qualitative descriptive phenomenological analysis.

Ponsford, M. (2016). The mutual interaction of online & offline identities in massive
       multiplayer online games: A grounded theory of EVE online players.




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Mucci, N. (2016). Program evaluation of on-site psychosocial services at a cancer treatment
       facility.

Sidhu, G. (2017). The application of western model of psychotherapy by Indian
       psychotherapists in India: A grounded theory.

Stark, J. (2017). Making meaning of video game avatars and behavior: A phenomenological
        exploration.

Sveund, J. (2017). The experience of Qigong among women who have lived with cancer.

Shreeve, S. (2018). Case study of the four-year neuropsychological changes in an elderly
       male with chronic traumatic encephalopathy.

Presentations and Invited Lectures

Thomas, L., & Bergkamp, J. (2018). Introductory Social Pedagogy in a Clinical Psychology
     Training Program. The Race & Pedagogy Conference at the University of Puget Sound.

Thomas, L., Martin, A., Bergkamp, J., Babcock, M. (2018). Exploring the Path of Least
     Resistance: A Grounded Theory Study of Privilege Awareness and Implications for
     Education. The American Psychological Association Convention; Division 2.

McGee, S., Kinnamon, C., Nipper, A., Wells, K. & Bergkamp. J. (2018). Western Clinical
     Psychology Student's Exploration of Cultural Immersion: The Intersection of Tibetan
     Buddhism and Psychology. The American Psychological Association Convention;
     Division 36.

Thomas, L., Martin, A., Bergkamp, J., Babcock, M. (2018). Exploring the Path of Least
     Resistance; A Ground Theory Study of Privilege Awareness. The American
             Psychological Association Convention; Division 9.

Martin, A., Thomas, L., Bergkamp, J., Babcock, M. (2018). Privilege Awareness through the
       Lens of Intersecting Social Identities, The Asian American Psychological Association
       Annual Conference.

Bergkamp, J. (2018). Precedent case-law in Washington State: A call for cultural
      competency in forensic evaluations. The American Psychology-Law Society
      Graduate Student Symposium.

Bergkamp, J. & Thomas, L. (2018). Social Privilege in Clinical Psychology. The Deschutes
      Psychological Association Symposium.

Bergkamp, J. & Curtis, S. (2018). Case Law and Cultural Competency in Competency to




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       Stand Trial Evaluations: Pragmatic Application. The American Psychology-Law
       Conference.

Bergkamp, J. (2017). Avatar Identity Development: What Video Games tell us about
      Ourselves. The American Psychological Association Convention; Division 46.

Barnhart, G. & Bergkamp, J. (2017). Voir Dire Juror Personality Matrix: Predictors of
      Personality Traits. The American Society of Jury Consultants.

Bergkamp, J. (2017). Cultural Competency in Forensic Evaluations: Case Studies of the
      Jinni. The University of Washington Post-Doctoral Fellowship Seminar.

Bergkamp, J. & Hendrickson, R. (2016). Malingering Misperceptions; Clinical Application
      of Forensic Malingering. The Washington State Behavioral Healthcare Conference.

Bergkamp, J. (2015). Virtual Identity Development; Videos games and the Self. The
      Qualitative Quorum of the University of Washington Office of Research.

Bergkamp, J. (2015). Classic Glasserian Grounded Theory. The Qualitative Quorum of the
      University of Washington Office of Research.

Bergkamp, J. & Means, J. (2015). Principles of Risk and Threat Assessment. Seattle
      Children's Hospital for the Washington State Council of Child & Adolescent Psychiatry.

Bergkamp, J. (2015). Cultural Competency Guidelines for Court Appointed Special
      Advocates (CASA). The King Count Family Law Center.

Bergkamp, J. & Curtis, S. (2014). Cultural Competency in Forensic Private Practice:
      From Aspiration to Reality. The Washington State Psychological Association.

Bergkamp, J., Nelson, J., Cooke, T., & Tien, L. (2012). Does Doctoral-level Cultural
      Competency Curriculum Work & How? The Washington State Psychological
      Association.

Bergkamp, J. & Hendrickson, R. (2012). Forensic Evaluations; What Happens After CSI.
      The Washington State Behavioral Healthcare Conference.

Bergkamp, J. & Bjorling, E. (2012). Avatar Development in Second Life; Implications for
      First Life. The Giving Voice to Experience Conference at Seattle University.

Bergkamp, J. (2012). Cultural Competency in Professional Psychology Training; What
      Works and What Doesn’t. The Western State Hospital Internship Seminar Series.

Bergkamp, J. (2011). Organizational Cultural Competency in Social Service Agencies. The
      Washington State Department of Social and Health Services - Office of Diversity Affairs.




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Bergkamp, J. (2011). Recommitting to Organizational Cultural Competency. The
      Washington State Behavioral Healthcare Conference.

Bergkamp, J. & Gage, B. (2011). Borderline Personality Disorder: Seeking a Cure or
      Behavior Change. The Washington State Behavioral Healthcare Conference.

Bergkamp, J. (2011). Cultural Competence in Correctional Mental Health. The Women in
      Corrections Conference.

Bergkamp, J. (2010). Crisis Intervention Skills with Mentally Ill Offenders. The Criminal
      Justice Training Commission of Thurston County Annual Conference.

Bergkamp, J. (2010). Organizational Cultural Competency: Measurement & Outcomes. The
      Washington State Department of Corrections Executive Leadership Board.

Bergkamp, J. (2010). Introduction of a New Curriculum for Cultural Competency. The
      American Psychological Association Convention; Division 45.

Bergkamp, J. & Bjorling, E. (2010). Bridging First and Second Life: An Ethnography. The
      American Psychological Association Convention; Division 46.

Bergkamp, J., Periera, C. (2010). The Business of Group Private Practice: A
      Phenomenological Design. The American Psychological Association Convention;
      Division 42.

Bergkamp, J. (2010). Cultural Competency in Correctional Mental Health. The Washington
      State Behavioral Health Conference.

Bergkamp, J. & Bjorling, E. (2010). Minority Perceptions of Stress & Pain. The American
      Psychosomatic Association Conference.

Bergkamp, J. & Jones, K. (2009). Stress & Wellness of Psychology Graduate Students. The
      American Psychological Association Convention; Early Psychologist Committee.

Bergkamp, J. & Tien, L. (2009). An Emerging Paradigm in Multicultural Competency
      Training. The “Giving Voice to Experience” Conference at Seattle University.

Bergkamp, J. & Jones, K. (2008). How Stressed are Graduate Students? The Washington
      Psychological Association Annual Conference.

Bergkamp, J. (2006). Innovations in Mindfulness & Therapy. Keynote for the Southwestern
      Washington Association of Behavioral Health.

Bergkamp, J. (2005). Comparison of Western Psychology & Buddhist Philosophy. Invited
Address at the International Buddhist Academy – Nepal.




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Licenses & Certifications

   •   Licensed Psychologist, Washington State since August 2011 - #PY60186543.
   •   Licensed Mental Health Counselor, Washington State since February 2007 -
       #LH00010918.
   •   Dissertation Consultant, The Grounded Theory Institute.
   •   Senior Mediator, Thurston County Conflict Resolution Center.

Professional Affiliations

   •   American Psychological Association
          o American Psychology-Law Society; Division 41
          o Society for the Psychological Study of Culture, Ethnicity, and Race; Division 45
          o Society of Consulting Psychology; Division 13
   •   Washington State Psychological Association
   •   American Academy of Forensic Psychology
   •   Pacific Northwest Neuropsychological Society
   •   American Psychosomatic Association
   •   American Association of Marriage & Family Therapy
   •   National Board of Certified Counselors
   •   Southwestern Washington Association of Behavioral Health
   •   Deschutes Psychological Association
   •   Association for Mindfulness in Education

Clinical Pro-Bono Service

Offender Re-entry Community Safety Program                       March 2015 - Present
Committee Advisor
   • Serve as advisory consultation regarding risk assessment
   • Assist with policy decisions regarding rater bias
   • Provide program evaluation insights regarding service delivery

Choice Regional Health Network, Lacey, WA                         May 2009 - Present
Mental Health Therapist
  • Provide specialized mental health services to underserved populations in Thurston,
      Mason, and Lewis County
  • Multidisciplinary team meetings with medical and legal providers
  • Supervise clinicians with a focus on Solution-Focused Therapy and Motivational
      Interviewing




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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
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9th Cir. Case Number(s)              18-50403


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   is an amicus brief and complies with the word limit of Fed. R. App. P.
   29(a)(5), Cir. R. 29-2(c)(2), or Cir. R. 29-2(c)(3).

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                         CERTIFICATE OF SERVICE

     I, Jessica Rofé, hereby certify that I electronically filed the foregoing with

the Clerk of the Court for the United States Court of Appeals for the Ninth Circuit

by using the Appellate CM/ECF System on April 17, 2019.

     I certify that all participants in the case are registered CM/ECF users and

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Dated: April 17, 2019                        /s/ Jessica Rofé
                                             Jessica Rofé

                                             Counsel for Amici Curiae
